                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

SHARON BOST, in her individual capacity        *
and as personal representative of the ESTATE   *
OF FATIMA NEAL,                                *       Case No. 1:15-cv-03278-ELH
             Plaintiff,                        *
             v.                                *       Hon. Ellen L. Hollander,
WEXFORD HEALTH SOURCES, et al.,                *       District Judge
             Defendants.                       *
                                                       JURY TRIAL DEMANDED

 *      *     *      *     *     *      *      *   *     *      *     *      *      *   *



                   PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


      Arthur Loevy
      Michael Kanovitz
      Anand Swaminathan
      Steven Art
      Sarah Grady
      Rachel Brady
      LOEVY & LOEVY
      311 North Aberdeen St
      Chicago, Illinois 60607
      (312) 243-5900

      Masai D. McDougall
      Fareed Nassor Hayat
      Norrinda Hayat
      THE PEOPLE’S LAW FIRM
      14908 Notley Avenue
      Silver Spring, Maryland 20905
      (301) 384-2198
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                                                                           v
                                         INTRODUCTION

        On November 4, 2012, after approximately three days in the Wexford-run infirmary of the

Baltimore City Detention Center (“BCDC”), Fatima Neal died from untreated strokes. Wexford’s

own medical records reflect that Ms. Neal was supposed to be released the next day.

        During the non-Monell phase of this case, Wexford vehemently argued—with the support of

two neurology experts—that Fatima Neal died of a sudden, massive stroke on November 4, 2012

that was immediately catastrophic and rendered it impossible for Wexford doctors and nurses to

save her. But in the Monell phase of the case, Wexford has reversed course. It has withdrawn its prior

experts, and instead retained a new neurologist who makes an extraordinary admission: Ms. Neal

had suffered her first stroke two to three days before her death, and thus she was suffering stroke

symptoms while under 24-hour care in the Wexford infirmary. The overwhelming evidence from

other detainees, Maryland’s death investigators, and Wexford’s own medical records, is that

Wexford’s infirmary doctors and nurses knew Ms. Neal was suffering obvious symptoms of stroke,

which can only be treated in the ER, but failed to send her out.

        The question is why Wexford’s doctors and nurses failed to send an obvious stroke patient

to the ER. Plaintiff is the only party in this litigation that offers any explanation: because Wexford

implemented policies and practices that pressured medical staff to avoid costly ER visits. In Ms.

Neal’s case, if she had just survived for one more day she would have been released from the

BCDC, without a hit to Wexford’s profits, and her care would have been at someone else’s cost. As

explained below, Plaintiff’s explanation is supported by a mountain of evidence that Wexford

promulgated express policies to force huge, across-the-board reductions in ER visits, and that it

perpetuated a widespread practice of delaying and denying ER visits to achieve its goal. By contrast,

Wexford offers no explanation whatsoever for why its medical staff failed to send Ms. Neal to the

ER for more than 48 hours after she suffered her first stroke. Yet, Wexford asks this Court to grant


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summary judgment on Plaintiff’s Monell claim and preclude a jury from ever considering this

evidence.

        In Plaintiff’s counsel’s experience, Wexford’s litigation practice is to file summary judgment

motions in every case, regardless of whether the evidence in a particular case supports it. Indeed,

this is not even the first time in this case that Wexford has filed a summary judgment motion despite

a mountain of evidence that creates, at minimum, material disputes of fact. During the individual

phase of this case, Wexford argued that no reasonable jury could possibly find that Ms. Neal’s death

was the result of deliberate indifference–or even medical malpractice–on the part of its doctors and

nurses. That motion, like this one, ignored the substantial evidence that Plaintiff had amassed

reflecting the Defendants’ abject misconduct.

        In denying Wexford’s first summary judgment motion, this Court recognized that nearly

nearly every material fact was hotly disputed by the parties. And it properly held that in such a case,

the proper venue to resolve those disputes was not at summary judgment but at trial, before a jury

empowered to resolve factual disputes.

        The evidentiary record in the Monell phase demands the same result. Wexford has filed a

baseless summary judgment motion on Plaintiff’s Monell claims. Like the previous one, its current

motion presents a vastly distorted picture of the evidentiary record. It relies on a cherry-picked set of

facts, deliberately ignoring ample evidence that directly contradicts its claims. Remarkably, Wexford

notes that the parties produced more than 150,000 pages of documents, but attaches just four of

those documents (along with three expert reports) in support of its motion. This highlights the

obvious: Wexford is, once again, asking this Court to ignore almost all of the evidence, including all

facts supporting Plaintiff, and instead accept its facts as true and draw all inferences in its favor. But

Wexford’s invitation makes a mockery of the summary judgment standard. Plaintiff has amassed a




                                                    2
vast quantity and quality of evidence reflecting Wexford’s direct role in Ms. Neal’s death, and a jury

could reasonably find for Plaintiff based on that evidence. Summary judgment must be denied.

                                                FACTS

  I.    Wexford Had a Financial Incentive to Reduce Emergency Room Visits to Increase
        Profits

        When Wexford began performing direct patient care in July 2012, its financial incentives

were simple: the less Wexford spent on emergency room (“ER”) trips and other offsite care, the

more profit it made on the contract, and vice versa. Ex. 48 at 23-24. More specifically, Wexford was

paid a fixed amount per inmate, multiplied by the average monthly inmate population. Id.; Ex. 30 at

36-37. It was then responsible for the vast majority of variable patient care costs. Ex. 48 at 23-24;

Ex. 30 at 25-28. This included 100% of all costs for trips to the ER (and all other offsite care).

Ex. 48 at 23-24; Ex. 30 at 21-22. Wexford was also responsible for 100% of ambulance costs, up to

a cap. Ex. 48 at 23-24; Ex. 30 at 27-28. Thus, if Wexford reduced ER trips and other offsite care, it

saved money. Ex. 48 at 23-24; Ex. 30 at 46-47. This was a change in practice; prior to July 2012,

when Corizon was responsible for direct patient care, the cost of offsite and emergency care was

borne by the State of Maryland. Ex. 15 at 73-74, 128.

            A. Upon Taking Over Direct Patient Care in July 2012, Wexford Immediately
               Implemented Reckless Policies and Practices to Reduce Emergency Room
               Visits and Increase Profits

                    1. Wexford Subordinates CQI to UM, Putting Cost-Cutting Over Quality

        Upon taking over the direct patient care contract in July 2012, Wexford made a major

change from the organizational structure used by the prior contractor, Corizon: it combined the

Utilization Management (“UM”) and Continuous Quality Improvement (“CQI”) departments,

putting UM staff in charge and subordinating CQI. Ex. 49 at 7; Ex. 21 at 18, 32-33, 40-41; Ex. 24 at

48-49. The separation of UM and CQI is critical, and Wexford’s decision to have UM subsume CQI

was contrary to accepted practice in the correctional healthcare industry. Ex. 49 at 5-6, 7-8; Ex. 48 at

                                                   3
24; Ex. 21 at 42-44. In effect, Wexford chose cost-cutting over quality. Ex. 49 at 7; Ex. 48 at 24;

Ex. 21 at 32-33, 40-41.

        The impact of the decision to place CQI under UM cannot be overstated. CQI is about

quality of care, and a robust CQI program is a necessary component of any healthcare system and

especially a correctional healthcare system. Ex. 49 at 4; Ex. 48 at 24. CQI analyses will uncover

issues that are likely to directly impact patient care, and it is critical that once issues like these are

recognized through the CQI process, a thorough action plan be promptly implemented, and the

action plan’s effectiveness be closely tracked. Id. at 4-5. Because CQI is ultimately about the quality

of care to patients, the failure to have a robust and healthy CQI process poses an obvious danger to

patient health. Id. at 5; Ex. 48 at 24.

        UM, by contrast, is focused on reducing costs. Ex. 49 at 5; Ex. 48 at 24. The goal of UM is

to decrease medical spending, usually by targeting unnecessary medical expenditures. Ex. 49 at 5.

UM commonly develops medical formularies, protocols, guidelines, and policies and then monitors

adherence to these written standards. Id. UM also typically requires certain high-cost procedures,

tests, or medications to be approved in advance. Id. Of course, cost savings must not come at the

expense of patient care and administrators must be vigilant to assess the impact of any UM cost

saving initiative on patient care. Id.

        Because CQI and UM are distinct processes with often competing goals, it is critical that

they remain separate and independent. Ex. 49 at 5; 48 at 24. Leadership teams responsible for the

overall healthcare contract must ensure that the UM system does not take priority over the CQI

program so as to ensure that cost considerations do not result in poor patient care. Ex. 49 at 5. The

risk to patient well-being posed by UM taking over CQI is obvious and well known. Id.

        Using ER visits as an example, referrals from a detention facility to an Emergency

Department can be a source of interest to both UM and CQI, although their goals will usually differ.


                                                      4
Id. at 5. UM is interested because ER visits are expensive and UM wants to reduce expenses. Id. CQI

is interested in making sure that patients are referred to the ER when necessary and in a timely

fashion, and that patients get proper medical care once they arrive. Id. at 5-6. CQI is also interested

in whether the ER referral occurs due to inadequate onsite care. Id. at 6.

        It is a risky and problematic practice to apply UM efforts to patients who need to go to the

ER because of concern about possible true life-threatening emergencies, and it endangers patient

health. Ex. 49 at 6. In the field of correctional healthcare, it is well-known that there is an obvious

danger in trying to contain ER related costs because any efforts to control “unnecessary” emergency

transfers will eventually result in true emergencies not being sent. Id.; Ex. 15 at 151. It is often

impossible to know in advance whether a specific medical complaint is or is not an emergency

before the ER evaluation is done. Id. Failing to send a patient with an emergency (like a stroke) to

the ER is a much, much bigger problem than sending someone thought to have a stroke who

eventually returns, after ER doctors have established that stroke can be “ruled out.” Ex. 49 at 6-7.

But from a UM-only perspective, it is an opportunity for cost savings. This is an example of why it is

understood in correctional medicine that the UM perspective must sometimes be rejected in favor

of ensuring quality of care and patient safety. Id. at 7-8; Ex. 21 at 42-44.

        Nevertheless, Wexford did the opposite, expressly putting UM and its cost-cutting priorities

over CQI and its quality-related priorities. Once UM was in charge, Wexford’s decisions related to

ER care changed significantly. Cost considerations (instead of quality of care and access) became

“front and center,” as did efforts to reduce ER visits. Ex. 48 at 24; Ex. 21 at 32-33, 150-151.

            B. Express UM policy requiring approval before sending to the ER

        Effective July 1, 2012, the day Wexford took over direct patient care, Wexford put in place a

new policy called the “Utilization Management Policies and Procedure, Region: Maryland.” Ex. 81 at

WEXDISC 445, 446; Ex. 31 at 57-58. It was a Wexford policy. Compare Ex. 81 at WEXDISC 445


                                                     5
(UM policy, with cover page stating it is “Wexford Health Sources Incorporated” policy), 446

(“Corporate Authorization” stating, “This Wexford . . . Maryland Manual has been reviewed and

approved by the Corporate Medical Advisory Committee”) with Ex. 84 at WEXDISC 486 (Chronic

Disease Management policy, with cover page containing State of Maryland Seal and stating it is

policy of “Office of Treatment Services, Office of Inmate Health Services”); Ex. 31 at 57-58. The

policy was written by Wexford employees from its UM department, and was signed by Dr. Thomas

Lehman, Wexford’s Corporate Medical Director for Clinical Services & UM. Ex. 81 at WEXDISC

446; Ex. 31 at 44, 57-58, 72. The policy does not contain signatures or authorizations from any

employees of the State of Maryland. Ex. 81 at WEXDISC 445.

        The plain language of the post-July 2012 policy, set forth in policy provisions “UM-001:

After-Hours Notification of Emergency/Hospital” and “UM-002: Emergency/Hospital

Notification,” was clear: a Site Medical Director or designated on-call physician had to first

determine that an ER referral was necessary before sending the patient out. Ex. 49 at 8; Ex. 48 at 25.

The policy states, “After hours notification of emergency room visits prompts the Wexford UM

Department to intervene and review specific cases for medical necessity and appropriateness in a

timely manner. If the patient is then admitted, the Wexford UM Department will attempt concurrent

utilization review.” Ex. 81 at WEXDISC 449 (emphasis added). The first step in the notification

procedure is for the “Site Medical Director or designee” to “determine[] that transport to the

emergency room/hospital is necessary,” and the policy is clear that the only designees authorized to

make such a determination are the Site Medical Director or on-call physician. Ex. 81 at WEXDISC

450 (requiring the Site Medical Director or “physician authorizing the ER visit” to additionally

submit a “Medical QA Emergency Reporting Form” to further defend the ER authorization).

Consistent with the policy set forth in UM-001 and UM-002, Wexford’s Emergency Room Visit




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Reduction Program, discussed below, reiterated the requirement of a “gatekeeper”—and backup

gatekeepers—to approve “all ER trips.” Ex. 80 at WEXDISC 20931; Ex. 49 at 8; Ex. 48 at 25.

       Making it all the more egregious, Wexford deliberately changed its post-July 2012 UM policy

to require physician approval before sending a patient to the ER. Wexford’s pre-July 2012 UM-002

policy, which was in effect across Maryland while Wexford held only the UM contract, expressly

stated, “Urgent and emergent referrals are automatic approval as to not delay any care.” Ex. 49 at 8;

Ex. 82 at WEXDISC 3607; Ex. 31 at 64-65, 66. That language was removed from the post-July 2012

UM policy. Compare Ex. 81 at WEXDISC 450 with Ex. 49 at 8.

       When Wexford took over on July 1, 2012, its new UM policy was disseminated to Wexford’s

doctors and nurses, who were trained on it. Ex. 31 at 58, 59-61, 62-63. Indeed, a number of

Wexford staff and administrators testified that their practice was to obtain approval before sending a

patient to the ER. Ex. 23 at 131-133, 226-27; Ex. 21 at 72-73, 153; Ex. 24 at 32; Ex. 22 at 38-39; Ex.

49 at 8; Ex. EXP1 at 25; Ex. 19 at 39. Medical records from individual cases expressly documented

requests for authorization from senior medical staff before sending patients out to the ER. Ex. 43 at

WEXDISC 33573 (“The documentation in the [electronic medical records] states that the physician

was awaiting the regional medical director to approve sending the patient out.”); Ex. 79 at p51; see

also Ex. 55 at NEAL 49859 (Fatima Neal’s medical records). Additionally, emails reveal that nursing

staff feared getting “in trouble” for sending patients to the ER or authorizing other nurses to send

patients to the ER. Ex. 46 at WEXDISC 24227.

       Wexford’s July 2012 UM policy was an egregious departure from the long-established

principle in correctional medicine that providers must have the unencumbered ability to call 911 if a

patient requires emergency care. Even Wexford’s own supervisors and experts agree about the

obvious danger of a practice in which providers were required to get approval from a gatekeeper

before calling 911. Ex. 31 at 21-22; Ex. 34 at 163-164; Ex. 21 at 85; Ex. 16 at 110-113; Ex. 49 at 7-8.


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As Wexford’s own expert acknowledged, a medical contractor must ensure that all doctors and

nurses understand that they do not need approval before calling 911. Ex. 16 at 114-115. Wexford’s

express policy required the exact opposite.

            C. Wexford Seeks Across-the-Board Reduction in ER Trips

                    1. Wexford guarantees 10% reduction in offsite medical care even before taking over direct
                       patient care

        When it took over direct patient care in July 2012, Wexford had every intention of benefiting

from its financial incentive and reducing ER visits. Even in its proposals to win the contract,

Wexford guaranteed a 10% reduction in offsite visits, which includes ER trips. Ex. 49 at 8; Ex. 59 at

WEXDISC 3210. Wexford’s guarantee was premised on the idea that it would conduct targeted

training and provide additional equipment and supplies so that it could care for more patients on

site. Id. However, as discussed below, Wexford in fact provided no additional training, equipment or

other resources to expand the available services in the infirmary, yet proceeded to reduce ER visits

far beyond its stated 10% goal. See infra Arg. § IV; Ex. 49 at 8-9; Ex. 48 at 26.

                    2. Wexford sought across-the-board cuts in ER trips that far exceeded its own assessment of
                       how many ER trips were preventable

        Once Wexford took over in July 2012, it took immediate steps to drastically reduce ER visits

across all sites and all categories of care, despite its own internal findings that there were very few

instances in which patients were being sent to the ER unnecessarily. Ex. 49 at 14.

        In the period from 2010 to July 2012, while Wexford was in the UM role monitoring the rate

of offsite care, Wexford had determined that the rate of unnecessary visits was approximately 2 out

of every 108 ER runs per month, or slightly under 2%. Ex. 83 at WEXDISC 3211, 3213; 95 at

WEXDISC 5740-51, 5766-76, 5789-97; Ex. 49 at 14. Both of Wexford’s senior UM managers

overseeing the Maryland contract, Dr. Getachew and Dr. Smith, acknowledged that the number of




                                                       8
ER trips deemed unnecessary were already very low, even before Wexford initiated concerted ER

reduction efforts. Ex. 31 at 25-26; Ex. 15 at 62-63.

        Wexford’s efforts to achieve hard target reductions in ER visits far above its own

determination of the number of unnecessary ER trips was reckless on its face. But it was all the

more reckless in practice. Between 2012 and 2013 when Wexford’s ER reduction efforts were in full

effect, the average number of ER runs across all Maryland facilities fell from 108 per month to 64

per month—a 40.7% reduction in ER trips well above the promised 10%. Ex. 49 at 14; 95 at

WEXDISC 5789-97. At one facility operated by Maryland’s Department of Public Safety and

Correctional Services (“DPSCS”), ER trips decreased by 80% over a period of three months: 25 in

December 2012, 10 in January 2013, and 5 in February 2013. Ex. 58 at WEXDISC 28542, Ex. 68 at

28446; Ex. 49 at 15. Indeed, by January 2013, Wexford commemorated that its ER referrals were

“under budget.” Ex. 2 at WEXDISC22614.

        And yet, when Wexford achieved reductions in ER trips far in excess of its rate of

preventable ER trips and its own more aggressive and unmoored goals, it did not take any steps to

assess whether the reductions in ER runs were made without sacrificing patient outcomes. Ex. 49 at

14. This was additionally reckless behavior contrary to accepted practice in correctional medicine.

Ex. 49 at 13, 15, 19-20. Wexford, through its UM Director and Rule 30(b)(6) corporate designee, Dr.

Smith, and its own correctional healthcare expert, Dr. Joshua, admits that if a medical contractor is

attempting to reduce ER visits, it would be dangerous to implement such an effort without carefully

monitoring the program to ensure patients were not suffering negative outcomes, and that the

failure to do so is dangerous. Ex. 15 at 118; Ex. 16 at 90-93, 97-100, 103-105.

                    3. Wexford sought across-the-board cuts in ER trips across all sites, unconnected to any
                       specific categories of care

        Wexford’s across-the-board cuts were not limited to particular sites or categories of care.

Wendy Riccitelli, Wexford’s Health Services Administrator, admitted that Wexford’s post-July 2012

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ER reduction efforts were not limited to certain categories of care, and that those efforts remained

in effect through at least 2014 when she left. Ex. 19 at 55. Beginning with the Baltimore Pre-Trial

Region (where Fatima Neal was housed), in August 2012, Kara Hope, Wexford’s Regional Director

of Nursing for the Baltimore Pretrial Region, and Stacey Scott, Wexford’s Regional Administrator

for the Baltimore Pretrial Region, reported that ER reduction efforts in Baltimore pretrial were

going well. Ex. 60 at WEXDISC 26092-26093. And in the Quarterly Regional Multivendor CQI

Meeting report from the Baltimore Pretrial Region from December 2012, Wexford noted that ER

runs “remain significantly down.” Ex. 61 at WEXDISC 24029.

         The same was true across other Maryland facilities. Reductions in ER trips were a constant

theme in Continual Quality Improvement reports from 2012-20141 across Maryland facilities. Ex. 49

at 10-11, 12; Ex. 48 at 24, 26 (cataloging examples).2 None of those CQIs identified any particular

categories of care that were safe and appropriate opportunities for reduction; they simply called for

reductions in ER trips across the board. Id. For example, a January 2013 CQI for Maryland facilities

referred to at MCIJ, EPRU and SMPRU stated the goal in clear terms: “Minimize the number of Er

runs for the month. Have emergent cases seen on site.” Ex. 7 at WEXDISC 28546. A January 2013

CQI for another Maryland facility, Jessup, states “ER runs: doing very well with documenting these

runs and preventing ER trips.” Ex. 70 at WEXDISC 28554.

         And in October 2012, Wexford’s CQI committee identified that several Maryland facilities

had a “time delay in responding to emergencies[,]” but Wexford’s solution was to lower ER runs,

with a goal of fewer than 20 ER trips per month. Ex. AA15 at WEXDISC 25961-65; Ex. 49 at 12.


         1
             This is further evidence that the CQI process had been overtaken by UM’s cost-cutting
goals.
         2
        See also, e.g., Ex. 61 at WEXDISC 24029; Ex. 62 at WEXDISC 22155; Ex. 63 at WEXDISC
22165; Ex. 64 at WEXDISC 24985; Ex. 65 at WEXDISC 25482, Ex. 6 at WEXDISC 25835; Ex. 66
at WEXDISC 26908; Ex. 67 at WEXDISC at 28437; Ex. 68 at WEXDISC at 28446; Ex. 69 at
WEXDISC 28542; Ex. 7 at WEXDISC 28546; Ex. 70 at WEXDISC 28554.

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This was an across-the-board proposed cut to ER trips per month; the CQI report contains nothing

explaining how it was determined that 20 ER runs was the appropriate figure, what tools had been

put in place to permit such a reduction, or what categories of care might be targeted for reduction

without sacrificing care. Ex. 4 at WEXDISC 25961-65. This was a dramatic departure from

acceptable practice in correctional medicine, and further evidence that the CQI process had been

subsumed by UM’s cost-cutting goals. Ex. 49 at 12.

        Meanwhile, Wexford’s statewide leadership continued to reinforce Wexford’s efforts to

reduce the number of ER trips and celebrate all such reductions. Ex. 71 at WEXDISC 24258-59;

Ex. 49 at 13. Wexford staff, including Wexford’s Director of Operations for the Maryland contract,

Marianne McKee (formerly Forkgen), and its Regional Medical Director for Baltimore Pre-Trial

(where Ms. Neal was), Dr. Isaias Tessema, emailed staff to celebrate 25 consecutive days that staff

didn’t make any ER referrals. Ex. 40 at WEXDISC 24250-52, Ex. 42 at WEXDISC 24338-39; Ex.

43 at WEXDISC 33574-75. Maryland Director of UM, Dr. Getachew congratulated Dr. Tessema

and noted his “leadership and laser focus on ER runs” was “showing significant reduction in UM”

in the Baltimore Pre-Trial Region Dr. Tessema oversaw. Ex. 42 at WEXDISC 24338.

                    4. Wexford’s across-the-board cuts in ER trips across all sites were not based on any
                       expansion in services onsite that would justify such a drastic reduction in ER trips

        Of course, if Wexford had invested in additional equipment, personnel and other resources

to greatly expand the range of services available in its infirmaries, that could have been a responsible

approach to managing the costs of offsite care. Ex. 49 at 6, 13; Ex. 48 at 26. But no such expansion

of services occurred. Wexford did not provide any additional resources, equipment, training or

supplies to expand onsite services in the infirmary when it took over the contract in 2012. Ex. 29 at

6-11, 59-60, 41-42, 46-47; Ex. 18 at 6-7, 17; Ex. 19 at 28-30, 34-39; Ex. 20 at 257-60, 266-68, 303;

Ex. 21 at 68-69; Ex. 22 at 51-53; Ex. 23 at 86-88; Ex. 24 at 6-8; Ex. 25 at 379-80, 384-86; Ex. 14 at

222-27, 314-18, Ex. 27 at 114-116; Ex. 28 at 243, 290; Ex. 31 at 46-50; Ex. 17 at 35-36; Ex. 15 at

                                                       11
125-26 (Wexford 30(b)(6) corporate designee and UM Director admitting that he could not identify

any expansion of resources in the infirmary when Wexford took over in July 2012); see also Ex. 49 at

13; Ex. 96 at 16 (Wexford interrogatory response, failing to identify any staffing and/or equipment

that expanded services available onsite in Baltimore Pretrial Region infirmary). Without that, its

successful efforts to drastically reduce ER trips were reckless and harmful to patients. Ex. 49 at 16-

18, 20-21; Ex. 48 at 27. Indeed, Wexford’s correctional healthcare expert, Dr. Joshua, concedes that

a medical contractor should attempt to reduce ER trips only if it also provides a commensurate

infusion of resources to supplement onsite care. Ex. 16 at 90-93, 97-100, 266-67, 270-71, 272-273,

285; Ex. 15 at 120 (Wexford’s corporate designee acknowledging same); see also Ex. 49 at 13.

                    5. Wexford implemented additional processes and practices designed to incentivize medical
                       staff to delay and deny emergency room visits

        Wexford’s requirement that medical staff call a gatekeeper before sending a patient to the

ER, even when the patient was unresponsive and clearly in need of immediate transport, was a

strong message that ER trips were discouraged, and was itself a powerful incentive to delay or deny

care. Ex. 49 at 15; Ex. 48 at 26-27. But Wexford put in place lots of additional processes to

discourage medical staff from referring patients to the ER.

        Among other things, Wexford reviewed every ER referral to determine whether it was

unnecessary. Ex. 31 at 23-26, 45-46, 47-48; Ex. 36 at 70-71, 73, 75; Ex. 49 at 12. These reviews were

overseen by Wexford’s UM department, not its CQI department. Ex. 45 at WEXDISC 22723-24;

Ex. 21 at 100-01; Ex. 49 at 12. In other words, ER referrals were reviewed from the perspective of

cost-cutting rather than quality. Ex. 49 at 4-5. Wexford’s UM team, including Dr. Smith and Dr.

Getachew, had daily calls with regional medical directors (as well as other Wexford administrative

staff) to discuss all ER referrals and patients who were being treated offsite, where regional medical

directors were required to “explain the validity of ER referrals” Ex. 19 at WEXDISC 22723-24, Ex.

37 at 64-65; Ex. 49 at 12. There were also discussions about how to reduce the number of ER runs

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deemed unwarranted. Ex. 34 at 119; Ex. 49 at 12. Leaving no doubt that those discussions were

about cost—not quality—in advance of those discussions Wexford’s UM department would send

the cost to Wexford for those ER referrals. Ex. 45 at WEXDISC 22723-24.

        This review process also specifically applied to the Baltimore Region, where Ms. Neal was

housed; there was a daily call that included the Regional Medical Director, Dr. Tessema, and UM

staff including the UM Director and UM nurses. Ex. 34 at 117-18. On the daily calls, all ER runs

were reported to the UM Director, and they would discuss any ER runs deemed to be unwarranted

and ways to reduce unwarranted ER trips. Id. at 117-19, 182-84. Dr. Tessema would communicate

non-confidential information from those calls with the onsite providers. Id. at 119-2l, 182.

        As an example of the pressure to avoid ER trips—even in cases where there was an

indisputable need—Dr. Getachew, the Maryland UM Director, told Dr. Tessema that the onsite

doctor should have sent a patient for imaging rather to the ER, in a case where the patient was

experiencing obvious, serious neurological symptoms including dizziness, gait disturbance, sudden

change in mental status, and hallucinations, with a history of epilepsy. Ex. 44 at WEXDISC 34167;

Ex. 49 at 14. As another example, in July 2013 onsite medical providers were seeking to send to the

ER a patient with second-degree burns to his face and chest, but Dr. Tessema did not authorize it.

Ex. HS 24. The patient’s condition was bad enough that the correctional staff refused to take

custody of the detainee and insisted he go out to the ER per the request of medical staff. Id. Custody

kept sending the patient back to the infirmary, only to be sent back to custody again based on Dr.

Tessema’s refusal to authorize the ER trip. Id. Dr. Tessema’s correspondence revealed that

Wexford’s policies had created pressure not to send the patient out. Id. at WEXDISC 23801 (“If this

patient is sent out, it will be flagged as preventable.”).

        Wexford’s leadership also emphasized its ER reduction efforts during evaluations of its

onsite medical providers. Ex. 49 at 13. Wexford’s annual performance appraisal form expressly


                                                     13
asked Wexford supervisors to assess doctors’ and nurses’ “cost effectiveness.” Ex. 3 at WEXDISC

1775; Ex. 1 at WEXDISC 1780; Ex. 49 at 13. For instance, this was true of Dr. Afre, the primary

physician overseeing Ms. Neal: in August of 2013, Dr. Tessema evaluated Dr. Afre’s “cost

effectiveness” as exceeding expectations and specifically noted that Dr. Afre had “very low ER

referral and manages complex cases in the infirmary.” Ex. 1 at WEXDISC 1780; Ex. 49 at 13.

Wexford’s corporate UM Medical Director, Dr. Robert Smith, acknowledged that emphasizing

reduction of ER referrals to providers poses a risk that the providers will fail to refer patients to the

ER when it is appropriate. Ex. 15 at 151; Ex. 49 at 13. Yet, that is exactly what happened.

Practitioners became afraid to call for emergency transport. Ex. 58 at WEXDISC 24227; Ex. 46 at

WEXDISC 24227. All of these processes and pressures Wexford implemented created a powerful

incentive to deny and delay necessary ER trips in favor of a “wait and see” approach. Ex. 49 at 19;

Ex. 48 at 26-27.

        The policy of across-the-board cuts is particularly problematic for neurological conditions,

which can rarely be treated in the infirmary, and for most of which—like stroke—even a small delay

in ER transfer can be catastrophic. Ex. 48 at 26.

            D. Predictably, Wexford’s Cost-Cutting Efforts Resulted in Increased Deaths

                    1. When Wexford took full control in July 2012, ER trips plummeted and deaths
                       skyrocketed

        Beginning in January of 2010 until the Emergency Room Visit Reduction Program started in

September of 2011, there was an average of 108 ER runs per month (and, by Wexford’s own

analysis, only two preventable ER runs per month). Ex. 49 at 14; 95 at WEXDISC 5740-51, 5766-

73. Starting in January 2012 through the end of December 2013, however, the average number of

ER runs fell to an average of 64 a month. Id.

        During this same time period, deaths increased dramatically. After Wexford’s efforts to

reduce ER trips went into effect, patient deaths increased. In the year after Wexford took over direct

                                                    14
patient care (and began its ER reduction initiative), deaths increased by an average of nearly 30%

statewide and more than 63% in the Baltimore pretrial region. Ex. 49 at 15-16; Ex. 5. In the two

years after Wexford took over, deaths increased on average over 28% statewide and over 40% for

the Baltimore pretrial region. Ex. 49 at 16; Ex. 5. Even worse, deaths were increasing despite an

overall slight decrease in patient population. Ex. 88; 53 at 4-5.

        DOJ Reporting on mortality rates in jails and prisons reveals equally troubling findings. The

number of deaths in Maryland prisons from 2010-2013 were 40, 41, 46 and 58, respectively. Ex. 87

at NEAL 104712; Ex. 53 at 4. In other words, deaths started to increase immediately, even in 2012

when Wexford had been in full control for only half a year, and then increased even more

dramatically in Wexford’s first full year in charge of direct patient care. Id. Indeed, the number of

deaths in Maryland prisons in 2013 increased 45% from the 2010-2011 average of 40.5 deaths per

year. Id. Again, the Maryland prison population was slowly decreasing over the same period. Ex. 88.

Accounting for this, per 100,000 inmates, the 2010-2013 Maryland mortality rate was 175, 178, 211,

and 267, respectively. Ex. 87 at NEAL 104713. So, the mortality rate increased in 2012, and then

increased even more dramatically in 2013 during Wexford’s first full year responsible for direct

patient care. Ex. 87 at NEAL 104713; Ex. 53 at 4-5. The rate in 2013 was 51.3% higher in 2013 than

the 2010-2011 average. Id. Expanding the analysis to a greater number of years does not change the

analysis: putting aside 2012 because it contains data combining Corizon and Wexford’s periods of

responsibility, a comparison of the three full years before Wexford took over (2009-2011) to the

three full years after it took over (2013-2015) produces the same staggering results. The Maryland

average mortality rate per 1000 for 2009-2011 was 202.33; for 2013-2015, it was 255, a 26% increase.




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Ex. 49 at 5. No matter how you slice it, patient deaths increased dramatically once Wexford took

over in July 2012 and implemented its across-the-board ER reduction policy.3

                    2. Wexford’s ER reduction efforts led to delay and denial of necessary emergency care in
                       dozens of cases, resulting in deaths

        Dr. Ryan Herrington, Plaintiff’s correctional healthcare expert, conducted a review of the

available medical records for 24 cases—most involving deaths—that occurred under Wexford’s care,

and found that in 19 of those cases there were violations of the standard of care directly related to

Wexford’s ER reduction efforts. Ex. 48 at 5-18. More specifically, in those 19 cases he found that

Wexford improperly delayed or denied emergency care. Id. Those cases are summarized as follows:

        ● R.G. died in 2010 from a pulmonary embolism. The day he died, he came to the
            infirmary complaining of dizziness, chest pain, and shortness of breath. He required help
            from two other inmates to get him to the infirmary. There was a delay in calling 911, and
            so EMS took 65 minutes to arrive. Wexford’s own mortality review notes that his blood
            pressure was not monitored and the labs that had been ordered were not done; his
            medical problem was not identified and he was not triaged to chronic care; and his initial
            evaluation on the day he came to the infirmary was not to standard. Wexford’s Corrective
            Action Plan (“CAP”) also notes that nurses failed to document an admission assessment,
            failed to document his significant change in condition and notify the on-call provider.
            R.G. should have been evaluated immediately at the infirmary and sent to the emergency
            room when he experienced a significant status change that signaled a life-threatening
            emergency, and 911 should have been called right away. Id. at 8.
        ● C.A. died in May 2011 from a heart attack. He presented with complaints of chest pain
            and low oxygen levels, and he was cool and clammy. An EKG suggested coronary
            ischemia—an indicator of a heart attack—but the physician ordered treatment for acid
            reflux and asked for a call back. Providers returned his call at 4:43 a.m., and called 911 22
            minutes later. Ex. 48 at 14-15. A 22-minute delay in calling 911 for a patient who presents
            with obvious heart-attack symptoms is an unacceptable delay. Given his presentation,
            treating C.A. with Maalox for gastric acid reflux is inappropriate and profoundly risky;
            what was needed was immediate transfer to the ER to treat an acute cardiac event. Id. at
            14-15.

        3
           Notably, it was Wexford’s correctional healthcare expert, Dr. Fowlkes, who originally cited
to the DOJ data to suggest that the mortality rate in Maryland was below national averages. Ex. 52 at
40-41. But as he had to concede, he looked only at DOJ mortality rate data for prisons, even though
in Maryland Wexford also saw patients in pre-trial jail facilities (like the BCDC where Ms. Neal was
housed). Ex. 52 at 40. The same DOJ data is available for jails, and it shows that the mortality rate in
jails is vastly lower, given the younger patient population and shorter custody periods. Ex. 86 at
NEAL 104683. After accounting for the mix of jail and prison population in Maryland, the average
mortality rate in Maryland for 2013-2015 was greater than the national average. Ex. 53 at 4.

                                                      16
● E.A. presented in January 2012 with excruciating headache, left facial and upper
   extremity numbness, and blurred vision, obvious stroke symptoms. Her symptoms
   persisted over hours. Medical records reference a previously scheduled MRI. About three
   hours after that, her left-sided neurological symptoms had worsened; E.A. report, but no
   ER referral or other intervention was undertaken by the treating physician, Dr. Afre.
   When her symptoms further worsen and she reports total facial heaviness, numbness, and
   droop, she is finally sent to the ER. She has suffered a stroke. She should have been sent
   to the ER at least five hours earlier, when she was displaying obvious stroke symptoms
   that required immediate ER transfer. Id. at 14.
● S.P. presented with a worsening headache in May 2009. Over the next two years, he
   displayed a number of other obvious symptoms of neurological deterioration, including
   weakness in his arms and legs, difficulty walking, numbness, sensory symptoms, and
   neurogenic bowel. Providers requested a cervical spine MRI or orthopedic consultation in
   July 2011, but Wexford’s UM intervened twice and redirected him to other therapies. By
   February 2012, he had weakness in all four extremities and had difficulty walking. He was
   admitted to the infirmary, and eventually taken to the hospital with progressive
   quadriparesis, where he was diagnosed with a skull tumor. He was treated and survived,
   but experienced years of excruciating pain. This was “an appalling case of neglect”; on
   numerous occasions he should have been sent to the ER and for offsite neurological care.
   Id. at 10-11.
● C.R. died in August 2012 from a cerebral embolus, a type of stroke. He had recently been
   discharged from the hospital for treatment of a heart condition, and presented to the
   infirmary with an unsteady gait, slurred speech, an elevated blood pressure, and one-sided
   weakness---obvious signs of a neurological event and a medical emergency. Records
   indicate that the physician wanted to contact the medical director for authorization to
   send C.R. to the emergency room. The 911 call went out two and a half hours after
   nurses called the on-call doctor. Wexford’s CAP admitted that C.R.’s death was a failure
   to timely send him to the ER, and to document and communicate to the doctor changes
   in symptoms that should have precipitated an immediate ER referral. Id. at 11-12.
● A.S. was HIV positive, and died in September 2012 from sepsis. He presented with a
   temperature of 102.8 and heart rate of 112. He was later admitted to the infirmary with a
   103.2 degree fever and a heart rate of 120. The next day he had a fever and sore throat,
   and was prescribed penicillin. The day after that, he had a fever of 103.8 and a heart rate
   of 122. The day after that, he had a fever of 105.1 and a heart rate of 135. After that, he
   was coughing up blood. Even then, he was not transferred to the ER until the next day,
   and died three days later. A patient with HIV and an uncontrolled and extremely high
   fever, suggestive of sepsis, should have been thoroughly worked up, which required
   transfer to the ER. Even when he was significantly and obviously unstable, spitting up
   blood, there was an additional five hour delay before he was actually sent to the ER. Id. at
   17-18.
● F.R. died in December 2012 of suspected sepsis. He presented with respiratory distress
   and a marked change in mental status. The physician was notified and ordered vital
   checks every four hours. Providers should have called 911 immediately, resulting in a
   delay in sending F.R. to the ER. Id. at 12.



                                          17
● E.Ha presented in January 2013 with slurred speech and loss of coordination. He was
   admitted to the infirmary, and the next day he reported loss of balance and falling. Nurses
   noted right arm weakness and right facial drooping. These are obvious stroke symptoms
   and providers should have sent him for emergency care immediately. There is no record
   that anyone contacted a doctor at that time. A physician saw him nine hours later and
   noted the same symptoms, but prescribed bed rest in the infirmary. Id. at 15.
● D.J. died in April 2013 from a cardiac arrhythmia with cardiomegaly. He was a 21-year
   old with no history of mental illness, but presented with psychosis and confusion. He was
   referred to the mental health unit even though he had been seen the previous day and had
   no symptoms. Given no medical history of mental illness and sudden change in status, he
   should have been sent to the ER. Indeed, Maryland investigator’s raised the same
   concerns in their death review. Id. at 16.
● A.C.B. died in May 2013 from a brain infarct (stroke). He presented in 2013 with a
   severe headache, right-sided weakness, and complaints of right-side paralysis. These are
   clear signs of a possible neurological event. Providers suspected a stroke, but waited over
   two hours to call 911. He should have been sent to the emergency room immediately. Id.
   at 6.
● A.D. died in May 2013 from syncope (which can be caused by heart disease) and diabetes.
   He had a history of diabetes and high blood pressure, and had been seen for chest pain
   several years prior. Providers should have sent him out for emergency care to rule out a
   myocardial infarction, and should also have been risk stratified through a stress test or
   treadmill test to test for heart disease. Id. at 6-7.
● G.M. died in June 2013 from hypertensive cardiovascular disease. He was admitted to the
   BCIBC with a history of high blood pressure and opioid addiction, and was referred to
   the medical department to coordinate his withdrawal. Medical providers never saw him,
   or documented his vital signs. He suffered cardiac arrest and died the same day he was
   admitted. Id. at 7.
● T.Lo presented to the infirmary in June 2013 with complaints of weakness and lethargy.
   Her condition deteriorated significantly over the next three days, and by the second day
   she was unable to lift her head, walk, or eat or drink, her vital signs were erratic, she was
   vomiting, and she complained of 10/10 pain. She was not sent to the ER until three days
   after getting to the infirmary, where she died of lung cancer. Wexford’s own CAP noted
   failures to document and communicate serious changes in her condition, like rapidly
   deteriorating vital signs. She should have been sent to the ER both when she was first
   admitted to the infirmary, and at numerous points when her condition deteriorated over
   the next 48 hours; the three-day delay in sending her to the ER was improper. Id. at 9-10.
● J.M. died in July 2013 after presenting with shortness of breath, lower back pain,
   abdominal pain, chest pain, 10/10 abdominal tenderness with no bowel movement for
   three days. He was observed sweating, restless, and vomiting. He was observed briefly in
   the infirmary before being sent back to his cell. His records do not indicate that a
   physician was notified about his change in status. He died the next day. His significant
   change in status was never communicated to a physician to intervene to assess his
   medical need, including possible transfer to the ER. Id. at 17.



                                           18
        ● R.S. died in March 2014 from a pulmonary embolism. He had asthma, and presented
           with wheezing, chest tightness, and low oxygen levels. The next day, he was coughing
           blood and experiencing pleuritic chest pain. These two symptoms combined indicate the
           presence of a potentially fatal pulmonary embolism and he should have been immediately
           sent to the ER. Instead, R.S. remained in the infirmary, and two days later, he went into
           cardiac arrest. Id. at 12-13.
        ● R.A. died in March 2014 from hypertensive cardiovascular disease and pulmonary edema.
           He had a history of seizures, high blood pressure, and cardiomyopathy. Ten months after
           he was incarcerated, he had a seizure and died. DPSCS’s death review identified a number
           of medical shortcomings, including failures to follow up on known medical conditions
           and inappropriately discontinuing blood-pressure medication just a few months before
           R.A. died. R.A. should have been referred for offsite intervention on multiple occasions,
           which was necessary to properly and diagnose and treat his conditions. Maryland’s
           investigator conducted a death review and reached the same conclusion. Id. at 13.
        ● E.Ho died in April 2014 from a stroke. He presented with high blood pressure and
           headache—the combination of which indicates a stroke—and should have resulted in
           immediate transfer to the ER. He was instead given medication and returned to his cell.
           The next day, he presented with high blood pressure, headache, facial drooping, aphasia,
           and left-sided weakness. He was sent out at that time, far too late, and he died four days
           later from an intracerebral hemorrhage. Id. at 15-16.
        ● T.Le died in 2016 from a perforated gastric ulcer. She was having difficulty breathing and
           her oxygen saturation was low. Nursing staff were unable to reach the on-call physician,
           and records indicate there was up to a 64-minute delay before 911 was called. That delay
           was improper; rather than attempting to get a hold of the on-call doctor, 911 should have
           been called immediately. Id. at 8-9.
        ● D.B. was admitted to the infirmary twice over three days in 2016 with complaints of
           vomiting, and sudden and severe headaches—obvious stroke symptoms. Neurological
           causes were not ruled out, and instead he was given pain medication. Three days later, he
           was found unresponsive. Medical staff delayed 50 minutes before calling 911. D.B. died
           of a stroke and large cerebral infarct. D.B. should have gone to the ER for stroke
           symptoms three days earlier when he went to the infirmary with stroke symptoms, and
           Wexford’s providers should have called 911 immediately when D.B. was found
           unresponsive. Id. at 5-6.

                    3. Wexford’s own expert admits that there were failures in at least 6 of the 19 cases Dr.
                       Herrington identified

        Wexford’s own correctional medicine expert, Dr. Thomas Fowlkes, admits that he had

concerns about the quality of medical care in at least six of the cases above, including D.B., A.C.B.,

T. Lee, T. Long, C.R., and R.S. Ex. 33 at 241, 271-74, 323-25.

        ● A.C.B.: Dr. Fowlkes had concerns about the length of time it took to contact emergency
           services. Id. at 292-94.


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        ● T. Le: he concedes there might have been a delay in calling for emergency care. Id. at
           318-321.
        ● T. Lo: he agrees that she should have been sent to the hospital when she became unable
           to walk and had 10/10 pain the day before. Id. at 321.
        ● C.R.: he agrees that the delay in calling an ambulance after C.R. was found unresponsive
           was a problem. Id. at 323.
        ● R.S.: he agrees that R.S. should have been sent to the hospital when he was treated for
           respiratory symptoms. Id. at 330-331.
        ● D.B.: he agrees that D.B. had concerning symptoms in the week before his death, but
           concludes only that he does not have sufficient information to affirmatively state that
           there was a breach of the standard of care. Id. at 275-76.

                    4. Wexford admitted in its own CAPs that patients should have gone out sooner

        In addition to the examples above, there were a series of CAPs—including two admitting to

unacceptable delays in sending the patients to the ER—that identified recurring failures in patient

care. CAPs, by definition, were created when the providers found specific failures in its patient care.

Ex. 21 at 88, 94-95, 120-21; Ex. 34 at 41-42; Ex. 19 at 10-11.

        After C.R.’s death on August 24, 2012, Wexford issued a CAP that contains numerous areas

of concern: it notes that the nurse failed to communicate to the physician when the patient’s blood

pressure was critically high and should have been sent out to the ER; the physician ordered Tylenol

and a change in blood-pressure medication rather than sending the patient to the ER; the nurse

failed to monitor C.R.’s blood pressure even after the last reading was elevated; there were

documentation failures; there was a failure to recognize and communicate a change in the patient’s

condition, and in particular, alteration of mental status; and there was a three-hour delay until the

patient left the facility after the health emergency. Ex. 12 at WEXDISC 25275-76. Ultimately,

Wexford’s Director of UM wrote in internal emails: “Based upon my review, there were salient

documentation deficiencies and a gross error in communication regarding the patient’s vital signs

(BP 215/68) that led to what appears to be mismanagement of his emergency status.” Ex. 72 at

WEXDISC 32542. Put simply, in addition to a series of documentation and communication failures


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with regard to a patient displaying obvious stroke symptoms, in multiple instances the patient should

have been sent to the ER but was not, resulting in an unacceptable delay. Ex. 12 at WEXDISC

25275-76; Ex. 21 at 125-127; Ex. 48 at 19.

        The failures in care related to C.R.’s death, and related CAP, drew significant attention. The

CAP was not only distributed to Wexford’s Direction of Operations responsible for the Maryland

contract, Ms. McKee, and the UM Director, Dr. Getachew, but also was sent to Wexford’s

corporate head of risk management, Joe Ebbitt, to review the death from a “risk management

perspective.” Ex. 73 at WEXDISC 29289. Dr. Baucom, overseeing the contract for Maryland, also

learned about the CAP and met with the CQI Director to communicate her “discontent.” Ex. 47 at

WEXDISC 25469; Ex. 21 at 133-35. That discontent was communicated to the UM Directors, Dr.

Getachew and Dr. Smith, and Ms. McKee. Ex. EE13.

        The T.Lo CAP involved her June 2013 death as a result of undiagnosed metastatic

carcinoma in her lungs. Like Ms. Neal, T.Lo was in the infirmary for more than 48 hours,

demonstrably deteriorating over that period with obvious symptoms, without being sent out. The

CAP expressly acknowledged numerous failures, including the following: “significant change in

condition not recognized by nursing staff”; “Vital signs recorded but no communication to MD”;

“Changes in condition (weakness, lethargy, altered vital signs not reported to provider)”; “Patient

decompensated rapidly after infirmary admission.” Ex. 10 at WEXDISC 22434. The CAP also

identified serious documentation failures that contributed to the outcome, including inadequate

documentation, missing nursing notes, and the failure to complete a head-to-toe assessment. Id. at

WEXDISC 22434-35. Ultimately, Wexford acknowledged that “Patient should have been

transferred to ER via 911 when status changed.” Id. Like C.R., T.Lo’s CAP identified critical failures

including the failure to identify and communicate changes in the patient’s condition, and the failure

to send the patient to the ER far sooner. Id.; Ex. 21 at 139-40.


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        Although both the C.R. and T.Lo CAPs identified a critical failure to timely send patients to

the ER, both of whom died, the CAPs themselves were deficient in that they did not contain

benchmarks and other components of a proper CQI process actually designed to ensure

improvements that would prevent recurring problems. Ex. 21 at 141-143.

        There were numerous additional CAPs that reflect similar recurring failures found in Ms.

Neal’s case, as well as C.R.’s and T.Lo’s. Among them is a November 1, 2012 CAP from the

Baltimore Pretrial Region (just three days before Ms. Neal’s death, in the same region she was

housed) finding that there was a need to “Update nursing knowledge related to paralysis and

neurological findings….” Ex. 13 at WEXDISC 25699. Wexford knew that its nurses had failed to

properly respond to a clear neurological emergency after C.R.’s death from stroke several months

earlier, and the CAP Response Form again indicates they knew that nurses’ knowledge about

paralysis and neurological findings was insufficient. Ms. Neal died just days later, after displaying

paralysis and other clear neurological red flags. Ex. 48 at 19.

        Wexford also issued a January 2013 CAP stating, “There was is [sic] a continuous failure by

nursing to follow through on basic nursing tasks such as obtaining weights, follow up with providers

and appropriate documentation. These tasks are an essential part of the inmate’s medical care and

must be performed on all inmates at every encounter along with appropriate documentation in the

EMR.” Ex. 8 at WEXDISC 37030. This is a remarkable admission by Wexford that its medical staff

were failing to perform even the most basic aspects of responsible medical care—actions that are

essential steps to providing adequate care to patients. Ex. 48 at 20. Indeed, in the period from June

2010 through June 2013, there are at least five additional CAPs that relate to basic failures in

meeting even the most basic standard of care, including taking vital signs, documenting the

condition of inmates in the infirmary, and communicating critical information to physicians about

changes in patient status. Ex. 48 at 20-21; Ex. 74 at NEAL 102675-78, Ex. 74 at NEAL 102687, Ex.


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74 at NEAL 102685, Ex. 11 at WEXDISC 22438, Ex. 9 at WEXDISC 22431-32. The natural and

foreseeable consequence of such deficiencies, as evidenced by the deaths of Ms. Neal, C.R. and

T.Lo, is a failure to timely refer patients to the ER. Ex. 48 at 21.

                    5. Wexford’s CQIs contain staggering admissions

        As part of a July 2012 CQI agenda, Wexford’s Statewide CQI Director wrote that she is

“aware regions/sites are stressed, in a state of turmoil and CQI is not a top priority.” Ex. 75. This is

another remarkable admission about the state of affairs among nurses and providers in Maryland

facilities, and their ability to make the sort of changes that Wexford was well aware were necessary.

Ex. 48 at 22. Other CQIs over the ensuing months and years show that issues with failures in

documentation and communication, and infirmary ER runs kept coming up, and that in many cases

the CQI findings simply repeated identically month after month, indicating that the problems

persisted without meaningful corrective action and resolution. Ex. 48 at 21-22; Ex. 76; Ex. 77 at

WEXDISC 36043; Ex. 78 at WEXDISC 36003.

            E. The Problems Identified through the Death Reviews, CAPs, CQIs and Other
               Records above Were Recurring Issues Well-Known to Wexford’s Senior
               Leaders

        Ultimately, Wexford’s senior staff knew its aggressive, across-the-board ER reduction effort

was causing negative patient outcomes, including deaths. Wexford’s Director of CQI, Donna James,

testified that failures to identify and document symptoms, and timely send patients out for

emergency care, were recurrent system-wide problems, and most critically, that the failure to timely

send patients out for emergency care was a recurring issue. Ex. 21 at 61-62, 144-145. She further

stated that these issues were communicated up the chain at Wexford to people like Ms. McKee,

Director of Operations, and Drs. Smith and Getachew, Directors of UM. Id. 144-45.

        These same senior leaders also saw that these failures were resulting in increased deaths. In

April 2013, Ms. McKee noted, “It seems to me we have had a lot of deaths.” Ex. 41. Ms. McKee’s


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understanding of the direct connection between the ER reduction efforts and denials of ER trips

resulting in deaths is even more plain in an October 1, 2012 email in which Ms. McKee widely

circulates another congratulatory email for another 20 days without any ER trips, but is then

chastised by a colleague who suggests “we hold off a bit sending this congrats to the client since the

investigation of the inmate death . . . includes questioning on why we waited so long to send him

out” and “[t]he documentation . . . states that the physician was awaiting the regional medical

director to approve sending the patient out.” Ex. 43 at WEXDISC 33573-74. Rather than address

the root problem—the ER reduction initiative itself—Ms. McKee simply responded that she agreed

the congratulatory emails should not go to the client. Id.

        All of this, and its relationship to Wexford’s financial incentives, was apparent. Indeed,

Wexford had monthly management meetings for leaders overseeing the Maryland contact. Ex. 30 at

55; Ex. 20 at 238; Ex. 36 at 117-18. Corporate Wexford staff, including Wexford’s CEO, CFO, and

Director of UM, and the statewide and regional leadership responsible for overseeing the DPSCS

contract, regularly participated in these monthly meetings. Ex. 20 at 240-41; Ex. 36 at 117-120; Ex.

30 at 55-62; Ex. 35 at 109-10; Ex. 36 at 119-22; Ex. 36 at 120-22. During these calls, Wexford’s

senior leaders routinely discussed offsite trips, including ER runs, trends, CQIs and CAPs. Ex. 30 at

63-66. Wexford leadership also discussed how Wexford’s actual costs compared with its budget and

expected profit margin, and what could be done to increase profitability. Ex. 20 at 237-39, 242-43;

Ex. 36 at 121-124; Ex. 35 at 112.

            F. Wexford’s Contention That the Sole Evidence of ER Reductions Was a
               Corizon-Only Policy Is Belied By the Record

        Wexford says that the evidence on ER reductions is limited solely to a Corizon-only policy

that began and ended in 2011, and was limited to reducing ER trips for three very narrow types of

care. Def. Br. at 10-11. This argument is plainly contradicted by the record.



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        Putting aside the ample evidence above that Wexford presided over an expansive, across-

the-board ER reduction program post-2012 that was not limited to particular categories of care,

Wexford’s reliance on the “ER Visit Reduction Program” documented in its 2012 annual report

does little to help it. Wexford is right about one thing: in 2011, while Corizon was responsible for

direct patient care and Wexford was in charge of UM, there was a so-called “Emergency Room Visit

Reduction Program” that targeted reductions in ER in the Baltimore region by “increasing onsite

capability to address emergency situations” and initially targeted three specific categories of care. Ex.

4 at WEXDISC 20923; Ex. 49 at 9.

        But Wexford’s argument is wrong in every other sense. First, the ER Visit Reduction

Program was clearly a UM policy, put in place by Wexford’s UM department. Ex. 21 at 97-98; 100-

01; Ex. 19 at 34; Ex. 49 at 10. Indeed, the Program itself is contained within Wexford’s 2012 annual

report entitled “Central region Baltimore Annual performance improvement report, 2012.” Ex. 4 at

WEXDISC 20880. Wexford offers no explanation for why, if it was not a Wexford policy, it

appeared in its own annual report.

        Likewise, the policy itself belies any suggestion that it was only a 2011 initiative. The policy

itself states that the planning phase was August-September 2011, implementation phase was

October 1-November 30, 2011, consolidation phase was December 2011, and then maintenance phase

was “January 2012, Onward.” Id. at WEXDISC 20923-25. By the time that the 2012 CQI annual report

was published, the policy was already well into its maintenance phase, id. at WEXDISC 20889, and

there is nothing in Exhibit 4 that indicates that the policy was no longer in place.

        Next, Wexford’s claim that the program was limited to just three categories of care is again

belied by the language of the policy itself, which shows that by design, the program would expand. It

states that the “first group of disorders to be managed on site” would be seizures, orthopedic

disorders, and DVT/cellulitis, and that Wexford “will select more disorder[s] through the process


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and add in the initial three.” Id. at WEXDISC 20923, 20924. Indeed, in the maintenance period,

there are no longer references to the specific category of seizures, but rather neurology-related ER

runs generally. Id. at 20924-26. Moreover, once the maintenance period began, the plan was to

“establish back up gatekeeper on call for all ER trips,” without any reference to a limitation to

particular conditions. Id. at WEXDISC 20931. Put simply, even if Wexford’s ER reduction efforts

had never grown beyond the original incarnation contained in Wexford’s 2012 annual report—

ignoring all evidence above to the contrary—it would still be deeply problematic, because the policy

introduced the critically dangerous requirement of an additional gatekeeper to approve all ER trips, a

policy that presented serious and obvious risks to patients. See supra § I.B.

        By the time Wexford took over in July 2012—with new financial incentives in place that

would allow it to increase profits if it could reduce costly ER visits—the ER Visit Reduction

Program documented in the 2012 annual report had morphed into something far more expansive,

applying across all sites and all categories of care, and supported by a new UM written policy that

reiterated the need for supervisory approval before sending a patient to the ER.

            G. Wexford Had Ample Notice That Its UM Policies and ER Reduction Efforts
               Would Produce Negative Patient Outcomes

        As set forth above, within the correctional medicine setting, it was obvious and understood

that it was unacceptably reckless to implement an across-the-board ER reduction effort without a

commensurate infusion of resources to expand onsite care, or without a robust audit program to

ensure the ER reduction was not producing negative outcomes. See supra § I.C.2. But Wexford had

ample on-the-ground evidence, even prior to taking over direct patient care in July 2012, that its ER

reduction efforts would be dangerous.




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                    1. Wexford’s UM role prior to July 2012 gave it complete access to information about patient
                       outcomes in Maryland facilities

        As an initial matter, Wexford has held the UM portion of the Maryland contract since June

2005. Ex. 83 at WEXDISC 3207; Ex. 85 at WEXDISC 3336-37. In that role, Wexford had extensive

access to information about patient care across Maryland facilities. See Ex. 83 at WEXDISC 3208-

09. So much so that Wexford produced over 80 monthly reports and 20 daily reports, including

information about ER compliance, trends and infirmary acuity. See Ex. 83 at WEXDISC 3208-09 (§

1.A.2); 31 at 30-37. In the period prior to July 2012, Wexford senior administrators like Director of

UM, Dr. Smith, had access to patient records, CAPs, CQIs, and other information about patient

outcomes, deaths, and trends in patient care. Ex. 15 at 70-71; Ex. 19 at 10-12, 13-14, 16, 23; Ex. 31

at 30, 38-41, 42-43. Indeed, Wexford’s UM staff were participating in retrospective reviews of ER

trips, monitoring the status of patients who went to the ER, participating in weekly collegial

meetings with the direct patient care providers from Corizon, and participating in death reviews. Ex.

31 at 23-24, 31-33, 38-41; Ex. 34 at 31-33. Finally, many of Wexford’s Senior medical supervisors on

the contract—included its UM Director, Statewide Medical Director, and many others simply

moved from Corizon to Wexford in July 2012, and so they brought their intimate knowledge about

direct patient care and outcomes with them, and in this way were also aware of trends in CAPs and

areas of deficiency identified in CQIs over time, including when they worked for Corizon prior to

July 2012. Ex. 19 at 19-23, 32; Ex. 14 at 172-174; Ex. 34 at 13-14; Ex. 31 at 7-8.

        Based on that access, in the years leading up to July 2012, Wexford had notice that the

policies and practices in place—including its own UM policies—were producing negative patient

outcomes, as documented in CAPs and death reviews. This included the initial incarnation of the

ER reduction effort—beginning in 2011 with the ER Visit Reduction Program, discussed above—

which put Wexford on notice that its ER reduction efforts, even in their narrower form, were

dangerous. Among other things, while the ER Visit Reduction Program was in its pilot and then

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early maintenance phase in Baltimore, through the second half of 2011 into early 2012, ER trips per

1,000 inmates dropped as much as 80%, far greater than the 10% original target (and further

evidence that in practice it was never really limited to three discrete categories of care). Ex. 4 at

WEXDISC 20930, 20924; Ex. 49 at 10.

        Relatedly, in just the period from 2010 to Ms. Neal’s death in November 2012, there were a

number of deaths and other negative patient outcomes that put Wexford on notice of the ample

failures in the patient care and UM policies in place during that time. That includes the failures in the

cases of R.G., C.A., E.A., S.P., C.R., and A.S., discussed supra § I.D.2. Notably, all of those cases

involved the delay or denial of ER care, and three of those cases involved neurological conditions

that were not treated with anywhere near the level of seriousness that was needed. Id. And again, the

C.R. case is particularly relevant, not only because it involved a patient who died from a stroke, but

also because Wexford’s own CAP admitted that C.R.’s stroke symptoms should have precipitated an

immediate ER referral, and that his death resulted from a failure to timely send him to the ER. Id.

                    2. Wexford has implemented aggressive ER reduction efforts in other states too, with
                       troubling results

        The Maryland contract was not the first time Wexford attempted aggressive reductions in

ER and other offsite visits. To the contrary, it has pressed for similarly aggressive cuts in emergency

room care in other states, with negative outcomes. In its 2006 bid to the Clark County Sheriff’s

Office, in Washington, Wexford touted its ability to save money by dramatically decreasing offsite

care. Ex. 90 at NEAL 15229; Ex. 53 at 1. Wexford wrote that it had previously been able to provide

a staggering 81% reduction in the client’s financial obligation, in part due to a 50% decrease in

emergency room visits, from 57% of the population to 26% of the population in a single year. Id. By

2008, Clark County Juvenile Detention Center staff noted that Wexford’s nursing staff was failing to

appropriately evaluate patients, document their care, and to provide them with medically necessary

care in a timely fashion. Ex. 91; Ex. 53 at 2. Reports from the Mississippi Department of

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Corrections indicate that in 2012 Wexford’s providers were not accurately documenting patients’

medical conditions or care Ex. 93 at NEAL 22289, NEAL 22296, NEAL 22305, NEAL 22327, and

causing delays in offsite care, id. at NEAL 22262. Ex. 53 at 2.

        In Illinois, a team of court-appointed experts in a class-action lawsuit about Wexford’s

provision of medical care in the Illinois prisons, Lippert v. Godinez, No. 10-cv-4603 (N.D. Ill.), found

that there was “considerable morbidity and mortality associated with untimely or lack of referral for

higher level of care.” Ex. 89 at NEAL 103531. The experts reviewed 33 deaths from 2017 and

identified 93 episodes of care in which a patient should have been referred to a hospital but was not.

Id. at NEAL 103531. In many instances, the experts found that the delays or denials of care

contributed to deaths themselves. Id. at NEAL 103531. The experts described these delays or denials

of care as a “cost containment mechanism.” Id. at 103531. The practices described in the Lippert

report mirror the policies and practices that Wexford implemented in Maryland, to similarly

disastrous effect. Ex. 53 at 2.

        And in 2020, the New Mexico Corrections Department reported that Wexford had no

meaningful CQI program, Ex. 92 at NEAL 101381. This, too, mirrors Wexford’s actions in

Maryland, where it subordinated the CQI department to UM. Ex. 53 at 2.

 II.    Fatima’s Own Case Is a Perfect Example of the Results of Wexford’s Reckless Cost-
        Cutting Efforts

        During the individual phase of this case, Wexford hired neurologist and neuropathologist

experts who opined that Ms. Neal had suffered a sudden (and this untreatable), catastrophic stroke

in the early morning hours of November 4, 2012. But in this Monell phase, Wexford has dropped

those two experts and retained a new neurologist expert, Dr. Schwartz, who makes a critical

concession: he agrees with Plaintiff’s experts that Fatima Neal had been suffering from strokes

for at least 48 hours before her death. Ex. 32 at 31-32, 210 (disagreeing with Wexford’s prior

neurologist expert); Ex. 50 at 91. In other words, Ms. Neal was suffering the effects of an untreated

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stroke on at least November 2 and November 3, while she was under 24-hour medical observation

and care by Wexford’s doctors and nurses in its infirmary.

        Given that Defendants no longer dispute that Ms. Neal had been suffering from the

symptoms of an untreated stroke while in the Wexford infirmary for several days, and given the

current posture of this case, Plaintiff will not recite the entire mountain of evidence proving that Ms.

Neal was suffering the symptoms of strokes throughout her three days in the Wexford infirmary,

and that Wexford medical providers knew it but failed to send her to the ER. That evidence is set

forth in detail in Plaintiff’s response to Defendants’ motion for summary judgment in the individual

phase, Dkt. 228 at 12-34, and is incorporated herein. Plaintiff will merely summarize some of the

critical evidence below.

            A. Ms. Neal was suffering obvious stroke symptoms over three days, with the
               knowledge of Wexford’s medical staff

        Around 2 a.m. on November 1, 2012, Ms. Neal’s cellmate woke up to find her walking into

things, screaming that her head hurt and she could not see, and speaking incoherently. Ex. 100 at

NEAL 607; Ex. 135 ¶ 6; Ex. 98 at 40-42. Acting on an emergency call from a BCDC correctional

officer, former defendant Anike Ajayi came to Ms. Neal’s cell at 2:30 a.m., where Ajayi documented

that Ms. Neal was “weak” and had a “knowledge deficit.” Ex. 55 at NEAL 29888; Ex. 26 at 63, 74-

75. Ajayi brought Ms. Neal to former defendant Andria Wiggins, the on-duty physician’s assistant

(PA), who decided Fatima should be admitted to the 24-infirmary for 24-hour observation. Ex. 26 at

56-57, 62-63, 102-103; Ex. 112 at 382.

        There is ample evidence that over the next three days in the infirmary, Ms. Neal suffered

numerous, obvious stroke symptoms:

        ● One-sided weakness that left Fatima unable to move one leg and arm, such that
          Fatima was dragging one side of her body. Ex. 113 at NEAL 903; Ex. 103 at 7-8; Ex. 110
          at NEAL 897; Ex. 114 at NEAL 900; Ex. 98 at 52; 78-79; Ex. 120 at 191; Ex. 124 at
          NEAL 8.


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        ● Inability to move without assistance, to maintain balance, or to walk without
          falling down. Ex. 98 at 76; Ex. 121 at NEAL 1170-71; Ex. 26 at NEAL 900; Ex. 21 at
          NEAL 897; Ex. 101 at NEAL 611; Ex. 113 at NEAL 903; Ex. 103 at 7.
        ● Impaired vision and blindness, confusion and/or hallucinations, incoherence, and
          difficulty speaking. Ex. 121 at NEAL 1170; Ex. 100 at NEAL 608; Ex. 114 at NEAL
          900; Ex. 98 at 43; Ex. 99 at NEAL 612; Ex. 103 at 7-8; Ex. 111 at 232.
        ● Persistent and severe headaches that did not respond at all to pain medication and
          caused Fatima to cry out in pain. Ex. 121 at NEAL 1171; Ex. 114 at NEAL 900; Ex.
          103 at 6-7; Ex. 100 at NEAL 608; Ex. 101 at NEAL 611; Ex. 113 at NEAL 903.
        ● Vomiting coupled with an inability to eat or get out of bed. Ex. 103 at 7; Ex. 121 at
          NEAL 1170; Ex. 113 at NEAL 903; Ex. 99 at NEAL 613; Ex. 114 at NEAL 900; Ex. 120
          at 191.
        ● Incontinence—urinating and defecating on herself. Ex. 103 at 7; Ex. 98 at 42, 146-
          148; Ex. 114 at NEAL 900; Ex. 121 at NEAL 1171; Ex. 99 at NEAL 613.

All of these are obvious signs of strokes to any medical practitioner. Ex. 39 at 127, 165, 167-168.

        In addition to medical professionals, laypeople commonly understand these to be

quintessential signs of stroke. Ex. 106 at ¶¶ 5-10; Ex. 107 at 5; Ex. 108 at 3, 4; Ex. 39 at 154 (even

lay observers recognize obvious symptoms of stroke such as difficulty speaking, facial asymmetry,

and one-sided weakness). Not surprisingly, then, the detainees that observed Fatima believed she

had suffered a stroke and that “[i]t was obvious that Ms. Neal needed medical help badly the entire

time that she was in the infirmary” Ex. 113 at NEAL 903; Ex. 120 at 191 (“Three (3) of the

detainees advised me that they believed [Fatima] had a stroke.”); Ex. 110 at NEAL 897; Ex. 121 at

NEAL 1171; Ex. 114 at NEAL 900; Ex. 99 at NEAL 613.

        Wexford’s doctors and nurses knew Ms. Neal was suffering stroke symptoms. Former

defendants Ajayi, Obadina, Afre, Ohaneje, Jamal, El-Sayed, and McNulty all interacted with Ms.

Neal while she was displaying stroke symptoms. Ex. 109 at 1-3, 6-27, 30; Ex. 27 at WEXDISC 254-

56. Multiple detainees reported that they directly, and repeatedly, informed the nurses about

Fatima’s serious medical condition and the risk that she would die. Ex. 25 at NEAL 903 (“[e]very

day, on every shift,” she and the other detainees told “nurses, guards, and other individuals that

Fatima needed emergency medical help and needed to go to the hospital.”); Ex. 102 at NEAL 897

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(cellmate and “and other detainees continued to tell the staff that Fatima needed to go to a hospital

because she needed medical attention.”); Ex. 100 at NEAL 608-609; Ex. 98 at 34, 43-44, 46-47, 49;

see also Ex. 115 at WEXDISC 254-56; Ex. 126 at WEXDISC 4196; Ex. 125 at WEXDISC 2022; Ex.

114 at NEAL 900; Ex. 98 at 46, 17; Ex. 99 at NEAL 613; Ex. 127 at 147; Ex. 122 at 148; Ex. 121at

NEAL 1171; Ex. 103 at 7; Ex. 101 at NEAL 611; see also Ex. 136 at 150. And finally, Ms. Neal

herself repeatedly told the Wexford doctors and nurses about her need for emergency medical

treatment. Ex. 114 at NEAL 899; Ex. 113 at NEAL 903; Ex. 121 at NEAL 1171.

        Wexford’s medical records documenting Ms. Neal’s treatment were incomplete, false and

unreliable, and full of omissions and contradictions. Dkt. 228 at 20-22. For example, in her

November 3 record, former defendant McNulty noted that Ms. Neal had “c/o [complained of]

headache 10/10 this am[.]” Ex. 109 at 24. But just hours earlier, former defendant El-Sayed noted in

her medical record that Fatima had “[n]o complaints of headache this AM.” Ex. 109 at 21. In his

November 1 medical record, former defendant Afre wrote that the physician assistant’s note

documented that Ms. Neal “was behaving [e]rratically.” Ex. 20 at 7. Yet there is no mention of

erratic behavior anywhere in the physician assistant’s November 1 medical record. Ex. 109 at 4.

Indeed, the vast majority of the “findings” in Ms. Neal’s medical records were not findings at all; it

was information that was automatically populated by the electronic medical record system at the

BCDC. Ex. 128 at 1-6; Ex. 25 at 468-473; Ex. 128 at 1-6; Ex. 38 at 254-261, 284-285. These

documentation failures reflect a failure to properly assess and document Ms. Neal’s symptoms, and

prevented information about Ms. Neal’s condition from being communicated among medical staff,

and most importantly, to the Wexford physicians responsible for Ms. Neal’s care. Ex. 48 at 27.

        The undisputed evidence demonstrates that during her more than three days in the

infirmary, Fatima received no treatment at all for strokes; the only “treatment” she received was

Motrin, an over-the-counter nonsteroidal anti-inflammatory drug, and eventually Tylenol 3, a


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narcotic pain medication. Ex. 109 at 9, 16. And so, after three days without any treatment for her

strokes, Ms. Neal was found unresponsive at 12:25 a.m. on November 4, 2012.4 Ex. 103 at 12 (“Staff

discovered her unresponsive at 0025 Hrs.”), id. at 2, 5, 10. She was foaming at the mouth. Ex. 103 at

6, 7; Ex. 123 at 189; Ex. 104 at 51-53. The detainees banged on the window to try to get former

defendant Obadina’s attention, but she was sleeping. Ex. 12 at 7, 8; see also Ex. 102 at NEAL 605;

Ex. 110 at NEAL 897; Ex. 103 at 7; Ex. 98 at 78; Ex.8. Former defendants Atta and Jamal were

called as well to help and they came to the infirmary. Ex. 103 at 6; Ex. 129 at 152; Ex. 130 at 153.

Accordingly, Wexford’s nurses had notice of Ms. Neal’s obvious and dire need for medical help by

approximately 12:25 a.m. on November 4.

        Yet, Wexford’s medical staff waited until 3:43 a.m.—more than three hours later—to finally

call the paramedics. Ex. 131 at WEXDISC 003958. Why? Because Wexford’s nurses made a series

of phone calls to get permission to send Ms. Neal to the ER, but Wexford’s on-call and backup

doctors did not answer their phones. Ex. 120; at 191; Ex. 55 at NEAL 49859. It was only after a

supervising physician called back and approved the ER trip that 911 was called. Ex. 55 at NEAL

49859. But because of the enormous delay in sending her to the ER, the doctors there could not

save her and she was pronounced dead at 4:31 a.m. Ex. 56 at WEXDISC001163. The hospital

record noted that there had been a “long down time.” Id.

        Ms. Neal was set to be released from the BCDC on Monday, November 5, 2012, a fact

Wexford’s medical staff knew as documented in their own medical records. Ex. 137 at 137, 235-236;

Ex. 97 at 57 (medical record stating, “She is scheduled for court on 11/05/12 and states that she will

be released at that time.”). Fatima died the day before her release.




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          Defendants contend that Ms. Neal was found unresponsive later in the morning, but their
view is plainly contradicted by the record.

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        Dr. King, the medical examiner for the state of Maryland, issued an extensive autopsy

report after Fatima’s death. Dr. King’s finding was that Fatima had suffered an initial stroke in or

around the early morning hours of November 1 when she was admitted to the infirmary. Ex. 106 at

¶¶ 5-10. Plaintiff’s experts—and now Defendants’ expert—agree that Ms. Neal had suffered an

initial stroke and was displaying the symptoms of that stroke over several days in the infirmary. Ex.

105 at 217; Ex. 107 at 3, 5; Ex. 116 at 1, 2; Ex. 108 at 4; Ex. 117 at 1-2; Ex. 51 at 2; Ex. 118 at 2.

        Over the ensuing three days Ms. Neal suffered effects from that initial stroke, including

symptoms, subsequent strokes, and swelling that culminated in fatal brain herniation. Ex. 105 at 211;

Ex. 106 at ¶¶5-7, 9-10; Ex. 117 at 1; Ex. 108 at 3

        In addition to the findings at autopsy, additional microscopic testing of Fatima’s brain tissue

revealed the presence of a cellular abnormality called macrophages, which confirms that Fatima

suffered an initial stroke at least 72 hours before her death. Ex. 119 at 97-98, 101-102; see also Ex.

119 at 79-81; Ex. 51 at 2, 6-8; Ex. 118 at 1-2, Ex. 57 at NEAL 013129, 13132-33. This objective

finding by Plaintiff’s neuropathologist expert is not disputed by Defendant’s expert. Ex. 32 at 29.

        After Ms. Neal’s death, DPSCS sent out a nurse named Bonnie Plimack to conduct a

morbidity and mortality review the patient care provided to Fatima. Ex. 132 at 5-6, 7-8. Based on

her review, Plimack concluded that Ms. Neal “should have been re-evaluated and sent out to the

hospital earlier.” Ex. 133 at 301. Carolyn Murray, an investigator from DPSCS’s Internal

Investigation Unit, interviewed a number of detainees on the morning of November 4 who reported

to her that Ms. Neal had been complaining about severe headaches, was projectile vomiting,

dragging one side of her body, urinating on herself, unbalanced and hitting her head, and was saying

things that indicated she was incoherent, disoriented and confused. Ex. 120 at 191; Ex. 104 at 8-9,

21. Murray believed that the detainees were credible and telling the truth. Ex. 104 at 45-46. Based on




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her investigation she had concerns about the quality of medical care that Fatima received and voiced

her concerns to her supervisors. Id. at 77-78, 79, 81.

        The failure of Wexford’s doctors and nurses to send Ms. Neal to the emergency room at

numerous points between November 1 and November 4, 2012 was an egregious departure for the

standard of care. Ex. 107 at 3, 6; Ex. 116 at 2; Ex. 108 at 5; Ex. 48 at 27; Ex. 49 at 18-19.

        The question is: why didn’t Wexford medical staff send to the ER a patient they knew was

displaying obvious symptoms of a stroke? The obvious answer is Wexford’s concerted campaign to

reduce ER trips. Ex. 48 at 27-28; 49 at 19. The failures in her case are consistent with the policies

and practices discussed above, and mirror the problems in many of the other deaths, CAPs and

other findings discussed above. Id. Indeed, consistent with Wexford’s policy to reduce ER trips and

practice of pressuring staff to treat emergency needs onsite, Wexford failed to send Ms. Neal to the

ER even though that was the only place where she could have been treated for her strokes. Ex. 48 at

27; Ex. 49 at 18-19. And consistent with Wexford’s express policy requiring medical staff to get

authorization before sending patients to the ER, even after Ms. Neal was found unresponsive and

foaming at the mouth Wexford’s medical staff delayed sending Ms. Neal to the ER for hours while

they waited for authorization from a medical supervisor. Id.

        In addition, many of the failures in her case are consistent with the pattern and practice of

failures in many other cases, including documentation errors and communication failures that

prevented the necessary action from being taken, repeated failures to perform the appropriate

differential diagnoses that would have warranted an immediate ER referral, failures to act on the

severity of obvious symptoms of neurological events and other serious conditions that required

immediate ER referral, the delay and denial of ER trips when medically necessary, and documented

efforts by medical staff to get authorization before referring patients to the ER. Ex. 48 at 27-28.




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            B. Ms. Neal likely would have survived if she had been ignored and instead sent
               to the ER at any point over three days before she died

        After suffering an initial stroke around the early morning hours of November 1, Fatima was

able to survive an additional three days despite receiving no treatment whatsoever. This, despite the

fact that early and aggressive intervention is crucial to reducing the likelihood of poor outcomes, and

for that reason medical providers are trained to be on the lookout for stroke signs and symptoms,

and err on the side of seeking urgent neurological evaluation and intervention, if needed. Ex. 108 at

6; Ex. 54 at 2. Logic alone dictates that if Fatima had been diagnosed and treated promptly, or at any

point in the three days before her condition deteriorated to the point that she was unconscious and

foaming at the mouth, she would have survived.

        The scientific evidence confirms this: applying a widely-used algorithm for predicting

outcomes following intracerebral hemorrhage based on a patient’s age, size and location of the

hemorrhage, and other factors, Fatima had an 81-100% probability of functional independence in 90

days. Ex. 54 at 2. 5 Even after three days of neglect, Fatima could have been saved if Defendants

acted promptly after she was found unresponsive at 12:25 a.m.; but as a result of Defendants’ hours-

long delay in sending Fatima out, she deteriorated further. Yet, at 3:22 a.m., even after a three-hour

delay, Fatima was still breathing and had a heart rate of 70, blood pressure of 80/60, and with

assistance her oxygen saturation was 90%. Ex. 109 at 30. But by the time paramedics were finally

called and arrived 30 minutes later, she had no vital signs: her pulse, respiratory rate and blood

pressure and oxygen saturation were all reported as zero. Ex. 131 at WEXDISC-003960.

        Strokes like the one Fatima experienced can be treated in the hospital, and people usually

survive. Ex. 108 at 5, 6; Ex. 54 at 2; Ex. 39 at 163. The treatment for such strokes includes blood


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         It should be noted that this likelihood of a positive outcome is based on the size and other
characteristics of the hemorrhage after going untreated for three full days; the likelihood of a positive
outcome, given that early intervention improves outcomes, would likely have been even greater if
her stroke had been treated earlier. Ex. 39 at 163.

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pressure control, correction of bleeding disorders, and medication or surgical intervention to

prevent or minimize the expansion of the bleed and any related swelling. Ex. 108 at 5, 6; Ex. 54 at 2.

As Wexford’s experts acknowledged, these treatment options work: people routinely survive

hemorrhagic strokes. Ex. 134 at 146–174 (Dr. Harris, since withdrawn); Ex. 32 at 132-33 (Dr.

Schwartz, current expert, acknowledging his stroke patients usually survive). Indeed, Wexford’s

current expert, Dr. Schwartz admits that the survival rate for any of the potential sequences of

strokes Ms. Neal suffered are greater than 50%. Ex. 32 at 94-95, 97-98 (ischemic stroke first, survival

rates 70-97%), 100 (for someone under age 50 like Ms. Neal, if ischemic stroke first survival rate

greater than 90%), 122, 123 (hemorrhagic stroke first, survival rate 60%), 128 (hemorrhagic stroke

first, survival rate greater than 60% given her young age), 138. And, he was clear that he was not

willing to opine based on the evidence that her chance of survival was less than 50% if she had been

sent to the ER between three hours and three days earlier. Id. at 69, 131, 145.

                                            ARGUMENT

  I.    Legal Standard

        “Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is appropriate

only when the Court, viewing the record as a whole and in the light most favorable to the

nonmoving party, determines that there exists no genuine issue of material fact and that the moving

party is entitled to judgment as a matter of law.” Clark v. Alexander, 85 F.3d 146, 150 (4th Cir. 1996)

(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-24 (1986)). The burden is on the moving party to

make such a showing. Dash v. Mayweather, 731 F.3d 303, 311 (4th Cir. 2013).

        “The evidence of the non-movant”—here, Plaintiff—“is to be believed, and all justifiable

inferences are to be drawn in [her] favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

Conflicting inferences are always resolved in the non-movant’s favor, Jacobs v. N.C. Admin. Office of

the Courts, 780 F.3d 562, 569 (4th Cir. 2015), and the Court draws inferences from “not only


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depositions but also documentary materials in the light most favorable to the party opposing the

motion,” Magill v. Gulf & W. Indus., Inc., 736 F.2d 976, 979 (4th Cir. 1984). “Even if there is no

dispute as to the evidentiary facts, summary judgment is inappropriate if there is a dispute as to the

conclusions to be drawn from such facts.” Id. at 979. “Credibility determinations, the weighing of

the evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of

a judge . . . ruling on a motion for summary judgment.” Anderson, 477 U.S. at 255; see also Tolan v.

Cotton, 572 U.S. 650, 660 (2014). Plaintiff’s “version of any disputed issue of fact thus is presumed

correct[.]” Eastman Kodak Co. v. Image Technical Servs., Inc., 504 U.S. 451, 456 (1992). In short, at this

stage the Court asks “whether the evidence presents a sufficient disagreement to require submission

to a jury or whether it is so one-sided that one party must prevail as a matter of law.” Anderson, 477

U.S. at 251-52.

        Plaintiff brings a 42 U.S.C. § 1983 claim against Wexford for denying Ms. Neal adequate

medical care at the Baltimore City Detention Center, in violation of her constitutional rights.

Plaintiff has brought § 1983 claim under both the Fourteenth Amendment, which protects the rights

of pretrial detainees, and the Eighth Amendment, which applies to post-conviction detainees,

because there is a dispute of fact regarding Ms. Neal’s status at the time of her death. Kingsley v.

Hendrickson, 576 U.S. 389, 400 (2015). This Court previously noted the dispute and the relevant facts

upon which the dispute is based in its earlier decision adjudicating summary judgment on Plaintiff’s

claims against the individual defendants. Bost v. Wexford, 2018 WL 3539819, at *4, 23-24, Dkt. 430 at

7, 46-47 (D. Md. July 23, 2018).

        The standard for claims brought under the Eighth Amendment is well settled: a plaintiff

must establish that she had an objectively serious medical need, and that the defendant was

deliberately indifferent to that need. Scinto v. Stansberry, 841 F.3d 219, 225 (4th Cir. 2016). But the

standard for claims brought under the Fourteenth Amendment is less clear. Courts used to apply the


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same deliberate indifference standard to claims brought by pretrial detainees as well. But in Kingsley,

the Supreme Court held that use-of-force claims brought by pretrial detainees were governed by an

objective standard, requiring the plaintiff to show only that the use of force was objectively

unreasonable. 576 U.S. at 396-97. Several circuits have applied Kingsley’s reasoning to require an

objective standard on the claims by pretrial detainees for denial of medical care. See, e.g., Brawner v.

Scott Cty., 14 F.4th 585, 592 (6th Cir. 2021); Charles v. Orange Cty., 925 F.3d 73, 87 (2d Cir. 2019);

Gordon v. Cty. of Orange, 888 F.3d 1118, 1124 (9th Cir. 2018); Miranda v. Cty. of Lake, 900 F.3d 335,

352 (7th Cir. 2018).

        The Fourth Circuit has not yet definitively weighed in on Kingsley’s impact on pretrial

detainees’ medical care claims. Mays v. Sprinkle, 992 F.3d 295, 301 (4th Cir. 2021); see also Michelson v.

Coon, 2021 WL 2981501, at *3 (4th Cir. July 15, 2021). This Court need not resolve the issue in this

case either because Wexford’s motion for summary judgment should be denied under either

standard. Indeed, this Court previously has already determined that a reasonable jury could

determine that Ms. Neal’s death was the result of deliberate indifference to her serious medical need.

Bost, 2018 WL 3539819, at *57, Dkt. 430 at 113.

        Because Wexford is a private corporation and not an individual, the Fourth Circuit has held

that to be held liable under § 1983, Plaintiff must satisfy the standards set forth by the Supreme

Court in Monell v. Department of Social Services of New York, 436 U.S. 658 (1978). Rodriguez v. Smithfield

Packing Co., 338 F.3d 348, 355 (4th Cir. 2003); Powell v. Shopco Laurel Co., 678 F.2d 504, 506 (4th Cir.

1982).6 Under Monell Plaintiff can prevail on her claim against Wexford if she proves that Ms. Neal’s


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          Federal courts have recently expressed skepticism about the application of Monell to a §
1983 claim against a corporation. See, e.g., Shields v. Ill. Dep’t of Corr., 746 F.3d 782, 790-96 (7th Cir.
2014) (“[A] new approach may be needed for whether corporations should be insulated from
respondeat superior liability under § 1983. Since prisons and prison medical services are increasingly
being contracted out to private parties, reducing private employers’ incentives to prevent their
employees from violating inmates’ constitutional rights raises serious concerns.”); Shehee v. Saginaw
Cty., 2015 WL 58674, at *7 (E.D. Mich. Jan. 5, 2015) (“Perhaps it is time to question the rationale

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constitutional deprivation was caused by one of four things: (1) the implementation or execution of

an express policy; (2) a widespread practice that, although not expressly authorized by policy, is so

permanent and well settled as to constitute a custom; (3) the actions of a person within the

corporation with final policymaking authority; or (4) an omission, like the failure to enact policies or

train staff, that “manifest[s] deliberate indifference” to prisoners’ constitutional rights. Lytle v. Doyle,

326 F.3d 463, 471 (4th Cir. 2003); see also Carter v. Morris, 164 F.3d 215, 218 (4th Cir. 1999); Spell v.

McDaniel, 824 F.2d 1380, 1385-86 (4th Cir. 1987). A reasonable jury could find that Plaintiff has

established Wexford’s liability on each of the four Monell theories. Summary judgment should

accordingly be denied.

 II.    A Jury Could Reasonably Conclude that Wexford Had a Widespread Practice of
        Denying Necessary Emergency Care that Caused Ms. Neal’s Death

        Corporate liability may be established under § 1983 for a constitutional violation that is

caused by a persistent and widespread practice that “has not received formal approval through the

corporation’s official decisionmaking channels” but is sufficiently permanent and well settled as to

constitute a “custom or usage with the force of law.” Monell, 436 U.S. at 690-91 (cleaned up); Spell,

824 F.2d at 1390 (widespread practice theory permits imposition of liability for practice that is

widespread even though it is “not sufficiently traceable in origin to any fault of municipal

policymakers”). To prevail, a plaintiff must present evidence of a “persistent and widespread

practice of municipal officials, the duration and frequency of which indicate that policymakers (1)

had actual or constructive knowledge of the conduct, and (2) failed to correct it due to their

deliberate indifference.” Owens v. Baltimore City State’s Attorney's Office, 767 F.3d 379, 402 (4th Cir.

2014) (cleaned up) (citing Spell, 1386-91). “[C]onstructive knowledge of such a custom and usage


for allowing private contractors to avoid liability for the acts of its employees.”). Notably, the
Supreme Court has never weighed in on the applicability of Monell in this context. Shields, 746 F.3d at
794. But given the Fourth Circuit’s precedents on this topic, Plaintiff concedes that this Court is
currently bound to apply it to Plaintiff’s § 1983 claims against Wexford.

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may be inferred from the widespread extent of the practices, general knowledge of their existence,

manifest opportunities and official duty of responsible policymakers to be informed, or

combinations of these.” Randall v. Prince George’s Cty., 302 F.3d 188, 210 (4th Cir. 2002); Owens, 767

F.3d at 402-03 (“Both knowledge and indifference can be inferred from the ‘extent’ of employees’

misconduct.”).

            A. Wexford Had a Widespread Practice of Denying Necessary Emergency and
               Offsite Care

        There is no bright-line rule as to how many other incidents of misconduct will suffice to

establish a widespread practice, although courts appear to agree that three or four other incidents are

insufficient. Thomas v. Cook Cty. Sheriff’s Dep’t, 604 F.3d 293, 303 (7th Cir. 2010); Cipolloni v. City of

New York, 758 F. App’x 76, 79 (2d Cir. 2018); Castro v. McCord, 259 F. App’x 664, 669 (5th Cir.

2007); see also Saltz v. City of Frederick, ___ F. Supp. 3d ___, 2021 WL 1856636, at *32 (D. Md. May

10, 2021) (collecting cases). The Fourth Circuit has held that while isolated incidents will not

establish a custom or practice for purposes of § 1983, summary judgment should be denied if there

are “numerous particular incidents” of other constitutional violations. Lytle, 326 F.3d at 473 (citing

Kopf v. Wing, 942 F.2d 265, 269 (4th Cir. 1991); see also Owens, 767 F.3d at 403 (Proof of “widespread

or flagrant violations” required to establish liability (cleaned up)). And other evidence—including

testimony from the corporation’s employees, expert opinion testimony, and documentary evidence

that wrongdoing is not taken seriously—may also be used to help establish a widespread practice.

See, e.g., Kopf, 942 F.2d at 269; J.F. v. Correct Care Solutions, LLC, 2019 WL 1057401, at *12 (D. Md.

Mar. 6, 2019); see also Daniel v. Cook Cty., 833 F.3d 728, 736 (7th Cir. 2016) (finding sufficient

evidence of a widespread practice based on plaintiff’s “own experience and the extensive deposition

testimony from Jail staff”); Montano v. Orange Cty., 842 F.3d 865., 875-76 (5th Cir. 2016) (finding

sufficient evidence of a widespread practice based on “the consistent testimony of jail employees”

even where the practice contradicts written policy).

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                    1. Wexford denied necessary emergency care to numerous other patients in circumstances very
                       similar to Fatima Neal

        Plaintiff has adduced a wealth of evidence that would permit a reasonable jury to conclude

that Wexford maintained a widespread practice of denying and delaying necessary and emergency

offsite care. Plaintiff’s expert, Dr. Herrington, reviewed medical records or administrative records

reflecting medical treatment of 24 other patients incarcerated within DPSCS between 2010 and

2016,7 and found 19 separate cases (in addition to Ms. Neal’s case) in which the patients’ care was

woefully inadequate. Plaintiff has set forth a discussion of each of those cases above. See supra at §

I.D.2. In his report, Dr. Herrington thoroughly discussed the relevant medical issues and history in

each case, and identified one or more of the following inadequacies that was similar to Ms. Neal’s

case: unacceptable denials and delays in sending patients to the ER, a failure to document and

communicate changes in the patient’s condition, or a failure to diagnose and/or treat signs of a

possible neurological event. Ex. 48 at 5-18. In his report, Dr. Herrington opined that the 19 cases

reflect repeated failures to timely send patients to the ER and other offsite care, and offsite

neurological care in particular. Ex. 48 at 18.

        Dr. Herrington’s opinions regarding those 19 incidents, and the pattern and practice that he

opines they reflect on the part of Wexford, is itself sufficient to meet Plaintiff’s burden at summary

judgment. Lytle, 326 F.3d at 473 (“numerous particular instances” can establish a custom or

practice); Awalt v. Marketti, 74 F. Supp. 3d 909, 938-39 (N.D. Ill. 2014) (denying summary judgment

on plaintiff’s widespread practice claim based on evidence that nine other detainees were denied

adequate medical care or medication, including three detainees with medical needs similar to the

detainee at issue). But Plaintiff has adduced far greater evidence of the widespread practice of



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          The 24 cases provided to Dr. Herrington primarily concerned deaths that occurred
between 2010-2014, although Plaintiff was able to obtain a handful of additional records outside of
that limitation based on incidental production of records.

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delaying and denying necessary and offsite care, including Wexford’s own affirmative efforts to

foster and encourage the practice.

                     2. Wexford’s own documents and emails betray its policy of intentionally denying emergency
                        care, despite the known and obvious risk

        When Wexford took over the direct patient care contract in July 2012, it promptly took

action to prioritize cost-cutting goals over quality control metrics; immediately subordinated its CQI

department to its UM department; and in turn subordinated quality efforts to cost-cutting goals. See

supra § I.A.1.8 With a cost focus predominating, Wexford immediately sought large, across-the-board

cuts in ER across all sites. See supra § I.C.

        When Wexford took over direct patient care in July 2012, it was already highly

knowledgeable about the medical care operations in DPSCS facilities because it had been operating

as UM contractor for DPSCS since June 2005. In that role, Wexford created an Emergency Room

Visit Reduction Program for the Baltimore region to reduce ER visits there.9 Ex. 4 at WEXDISC

20923-31. As discussed above, based on the language of the program itself, and Wexford’s actions

upon its implementations, Wexford quickly expanded the program into a widespread effort to

reduce ER visits across the board, statewide. See supra § I.C.

        Shortly after the program entered its maintenance phase, Wexford took over as the sole

medical contractor, expanding its efforts to reduce ER visits further still. When Wexford took over



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          Wexford’s policy to reduce ER visits across the board is also an express policy that is a
basis to impose liability against the corporation on its own, as discussed in detail below. See infra Arg.
§ III. But it is also relevant to Plaintiff’s widespread practice claim.
        9
           Wexford disputes that it created the Emergency Room Visit Reduction Program. Plaintiff
has elsewhere discussed the wealth of evidence that undercuts Wexford’s denial of involvement in
the program, including the fact that it appears in an annual report authored by Wexford and discusses a
UM initiative during Wexford’s tenure as UM contractor. See supra §§ I.B, I.F; see infra Arg. § III.B. It
is for a jury at trial in this case to resolve these disputes, and not this Court on summary judgment,
which must credit Plaintiff’s evidence and facts.


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as the sole medical contractor in July 2012, the financial arrangement for healthcare of patients in

DPSCS custody changed dramatically. Unlike the prior contract where the State of Maryland had

borne all costs for offsite care, Wexford was now responsible for 100% of the cost of trips to the

ER and other offsite care. See supra § I. The scope and scale of Wexford’s ER reduction efforts grew

commensurately with its immense financial incentive to cut ER costs. See supra § I.C.

        Upon assuming the duties as sole medical contractor, Wexford issued a new UM policy that

required nursing staff to obtain approval from a physician prior to referring patients to the ER for

emergency care.10 See supra § I.B. Wexford disseminated its new UM policy to its employees, and

trained them on it. Ex. 31 at 60-61. Extensive evidence indicates that the policy was acting as

intended: documents and correspondence reveal a constant drumbeat to reduce ER trips. See supra

§§ I.C.3, I.C.5. As one example of the predominance that ER reduction efforts took, a CQI report

during this period identified a serious problem: “time delay in responding to emergencies”;

Wexford’s solution, contrary to all common sense, was to direct staff to reduce ER trips, with a goal

of less than 20 ER trips per month (without reference to any particular types of conditions or care).

Ex. 4 at WEXDISC 25963.

        Wexford’s corporate designee, Dr. Smith, and its correctional healthcare expert, Dr. Joshua,

both admitted that efforts like those described above to reduce ER visits across the board would

present a known risk to patient health and safety, especially if not accompanied by a meaningful

influx of resources and services to facilitate adequate treatment of patients on site, and robust quality

control measures to ensure the quality of care was not compromised. Plaintiff’s expert, Dr. Keller,

further explained that any such efforts to reduce ER trips was inherently dangerous if not narrowly

focused on those ER trips that were not for true or suspected emergencies. But Wexford’s efforts to


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            This written policy is also an independent basis upon which Plaintiff may hold Wexford
liable, as discussed in detail below. See infra Arg. § III. It, too, remains relevant to Plaintiff’s
widespread practice claim.

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reduce ER trips across the board was not limited in any such way—especially once it became the

sole medical contractor in July 2012—and Wexford provided no additional resources or services to

increase the ability or capacity for its employees to provide adequate services on site. Dr. Joshua

admitted that this, too, was contrary to correctional healthcare practice and would present a known

risk to patient health and safety. See supra § I.C.2.

             B. Wexford Turned a Blind Eye to the Deadly Effects of its Widespread Practice

        Wexford likewise made no efforts to ensure that its ER reduction policy was not putting

patients’ lives at risk.11 To the contrary, it continued to subordinate the CQI department entirely to

UM goals, co-opting employees like Donna James, who was supposed to be overseeing quality

control efforts, into UM and budgetary focused initiatives. Ms. James’s ability to do meaningful

quality control work suffered so greatly that she left Wexford in mid-2013. Ex. 21 at 15-16, 17-19.

Meanwhile, Wexford’s UM efforts were a success: by January 2013, Wexford reported that its ER

referrals were “under budget.” Ex. 2 at WEXDISC 22614.

        Perhaps most egregiously, Wexford knew when it took over the contract in July 2012 that

there were very few ER trips (less than 2%) that could be safely eliminated. See supra § I.C.2.

Wexford also knew that ER visits in the Baltimore region had already been reduced significantly in

the months before Wexford took over the contract thanks in part to the Emergency Room Visit

Reduction Program, and its own data reflected a trendline reduction in ER trips of 80% between

April 2011 and March 2012. See supra § I.C.2. Yet without making any efforts to determine what, if



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           Wexford contends that Plaintiff’s assertion it did not implement the quality control metrics
it knew was necessary to protect against the risk to patient health and safety posed by its ER
reduction efforts is “without evidence.” Def. Br. at 17. But as detailed in Plaintiff’s statement of
facts above, there is a wealth of evidence to this effect, including testimony from Donna James,
email correspondence between Wexford employees, and documentary evidence showing that
Wexford cared solely about reducing ER visits, even when problems were identified. The opinions
of Plaintiff’s experts in this regard is thus reliable and amply supported by the record, as discussed in
more detail below. See infra Arg. § V.

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any, harm patients had already suffered from Wexford’s ER reduction efforts and without

addressing the known and obvious risk of harm that patients would face from further efforts,

Wexford simply expanded the program. See supra § I.C.2.

        Indeed, Wexford was already on notice that its ER reduction efforts had resulted in adverse

patient outcomes. During its tenure as UM contractor prior to July 2012, Wexford had full access to

patient data, and participated in the oversight of patient care and offsite usage, including

retrospective reviews of ER trips, death reviews, CQIs, CAPs. See supra at §§ I.E, I.G. Wexford was

thus aware of numerous deaths and other adverse medical events that occurred as a result of delays

or failures in sending the patient to the ER, even before it took over the contract in July 2012.

        For example, E.A. presented to medical staff in January 2012 at the BCDC reporting

headache and facial and extremity numbness and tingling, obvious signs of a neurological

emergency. E.A. was not sent to the ER despite the clear signs of a medical emergency. Instead, Dr.

Afre (also Ms. Neal’s primary treater) saw E.A. a few hours later, and despite E.W.’s report that her

symptoms have not resolved, took no action to treat E.A. or send her to the ER. It was not until

hours later that E.A. was finally sent to the ER for a suspected stroke. Ex. 49 at 13-14.1

        In August 2012, shortly after Wexford took over as the sole medical contractor, C.R. died of

a stroke. He had recently been released from the hospital for treatment of a heart condition. He

arrived in the infirmary with an unsteady gait, slurred speech, elevated blood pressure, and one-sided

weakness—all signs of an obvious neurological emergency. Rather than immediately refer C.R. to

the ER for emergency treatment, the physician waited to get in touch with the medical director for

authorization to send C.R. to the ER. The 911 call was not made until more than 2.5 hours after

nurses called the on-call physician. C.R. was pronounced dead at the hospital. Ex. 49 at 11-12.

        The above cases are just a few examples of the deaths and adverse medical events made

known to Wexford as its policy to reduce ER visits was being implemented. Dr. Herrington has


                                                   46
detailed several more, which are also summarized in greater detail above. See supra § I.D.2; Ex. 49 at

5-18. And as Dr. Herrington noted, there is every reason to believe that there were an even greater

number of adverse medical events that were not produced to Plaintiff in this case. Ex. 49 at 18.

(Wexford did not produce any clinical medical records whatsoever.) Indeed, in the year after

Wexford took over direct patient care, deaths increased dramatically, based on multiple metrics, even

as the total number of individuals in DPSCS custody decreased. Wexford’s own Director of

Operations noted the sharp increase in deaths after Wexford implemented its aggressive ER

reduction efforts , remarking in an email to other Wexford administrators that “[i]t seems to me we

have had a lot of deaths.” See supra § I.E; Ex. 41.

           Wexford was also notified of the dangers its policies and practices were presenting to patient

health and safety in Maryland through CAPs, that DPSCS repeatedly required. Randall, 302 F.3d at

210. Following the death of C.R., for example, Wexford admitted in a CAP specifically addressing

C.R.’s death that C.R.’s stroke symptoms should have caused an immediate ER referral, and that his

death had been caused by a substantial delay in sending the patient to the ER. Dr. Herrington

discusses multiple other CAPs that raised similar and related issues before Ms. Neal’s death. See supra

§ I.D.4.

           Notably, Wexford’s contract with DPSCS was not the first time Wexford had attempted to

aggressively reduce ER and other offsite visits. To the contrary, it took similar actions in numerous

other states and counties, with harmful effects. See supra § I.G.2.

              C. Wexford Pressured Medical Staff to Reduce ER Visits, and Knowingly
                 Ignored the Serious Risks and Consequences of Its Actions

           Despite the wealth of information that reduction of ER trips were both unnecessary and a

danger to patient health and safety—information that was both obvious and known, by Wexford’s

own admission—Wexford persisted in its efforts to reduce ER visits across the board without

modification. Its processes and practices placed relentless pressure on medical staff to reduce ER

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visits. Among other things, Wexford senior management convened daily calls in which each ER

referral had to be justified, and costs regarding each referral were circulated in advance; and

evaluated medical staff on their “cost effectiveness,” including their ability to reduce ER trips. See

supra at § I.C. Indeed, in his last performance evaluation, Dr. Afre, the physician who primarily

interacted with Ms. Neal at the BCDC in the days before her death, exceeded expectations in “cost

effectiveness” because he had “very low ER referral and manage complex cases in the infirmary.” Id.

        Wexford leadership also celebrated with sitewide emails when there were long stretches

without any ER trips, even when those periods became so long it should have raised obvious

questions about negative patient outcomes. See supra §§ I.C.3, I.E. As one example, in August and

October of 2012, Dr. Tessema sent an email to several Wexford and DPSCS staff, celebrating

lengthy periods of time without any ER trips at all. Dr. Getachew attributed this to regional

management’s “laser focus on ER runs” that was “showing significant reduction in UM” in the

Baltimore pretrial region. Ex. 42 at WEXDISC 24338. Remarkably, this message was sent just days

after Wexford’s own determination that C.R.’s death had been caused by a delay in sending him to

the ER. Id.

        As Dr. Herrington’s report explains in detail, the compromise to patient health and safety

that resulted from Wexford’s efforts to reduce ER visits across the board was real. Wexford’s expert,

Dr. Fowlkes, and Wexford through several of its CAPs, agree with Dr. Herrington as to some of

those cases. See supra §§ I.D.2-I.D.5.

        Similarly, there is also ample evidence from which a jury could conclude that Wexford’s

widespread practices were the moving force behind the violation of Ms. Neal’s constitutional rights.

The Fourth Circuit has held that a plaintiff has met her burden to establish causation on a

widespread practice claim “if occurrence of the specific violation was made reasonably probable by

permitted continuation of the custom[,]” Spell, 824 F.2d at 1391, and the Supreme Court has made


                                                   48
clear that this task remains one for the jury to complete after considering Plaintiff’s evidence as a

whole. City of Canton v. Harris, 489 U.S. 378, 391 (1989). Wexford’s widespread practice of denying

and delaying offsite and emergency care shares a close factual relationship with what happened in

Ms. Neal’s own case (and several other incidents discussed by Dr. Herrington), and a jury could

accordingly find that the widespread practice was a moving force of Ms. Neal’s own injuries,

including her death. See supra § II.

             D. Wexford Does Not Address or Meaningfully Rebut the Significant Evidence
                Plaintiff Has Generated to Show a the Existence Widespread Practice

        Wexford does not meaningfully respond to the large volume of evidence that Plaintiff has

adduced in support of her widespread practice claim, other than to generally suggest that the very

fact that Plaintiff has adduced significant evidence should somehow lead this Court to be skeptical

of that evidence. Def. Br. at 16 (describing Plaintiff as “adopt[ing] the ‘everything but the kitchen

sink’ approach”).12 Wexford instead simply states in conclusory fashion that the 19 other incidents

identified and discussed by Dr. Herrington is “hardly sufficient” to establish a widespread practice.

Def. Br. at 23. Notably, Wexford does not argue that 19 other incidents is insufficient as a matter of

law, nor could they. Awalt, 74 F. Supp. 3d at 938-39; Kopf, 942 F.2d at 269. Regardless, they have

thus forfeited that point. A Helping Hand, LLC v. Baltimore Cty., 515 F.3d 356, 369 (4th Cir. 2008).

Wexford instead argues that the 19 other incidents are insufficient because, essentially, there were

lots of detainees in Maryland. But the numbers that Wexford cites are misleading and do not

accurately represent the total number of records with which Dr. Herrington’s 19 cases can fairly be

compared.



        12
          Notably, Wexford successfully sought strict limits on the scope of discovery in this case,
permitting her to obtain discovery only on the provision of emergency care between 2010-2014. Dkt.
499 at 26. The meaningful limitation on Plaintiff’s discovery placed at Wexford’s request defeats any
assertion by it that Plaintiff’s evidence is merely scattershot accusations of unrelated conduct.


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        Because of the limitations that this Court set regarding the temporal and topical scope of

discovery in this case, Plaintiff was given access to case-related documents for only 193 patients (the

majority of which were not medical records, but death reviews and other investigatory documents).

Ex. 53 at 3.13 Of those 193 patients, Plaintiff received medical records for just 47 patients. Ex. 53 at

3; Ex. 94. Dr. Herrington reviewed medical records for more than half of those patients and found

significant problems in 19 of them, i.e. 79% of cases, nearly all relating to failing to recognize

neurological conditions or timely send patients to the emergency room. See supra § I.D.2; Ex. 48 at 5-

18. Dr. Herrington’s identification of significant lapses in care in 19 out of 24 cases he reviewed thus

represents 40.5% of the total number of patients whose medical records were produced in discovery

(47) and nearly 10% of the total number of cases for which some form of documentation (however

limited)14 was available. Ex. 53 at 3. Dr. Keller opined that every one of these figures is unacceptably

high; thus, even if one were to assume that Dr. Herrington reviewed the records for all 193 patients

and found those records sufficiently complete to conclude the care was perfect in every case other

than the 19, the resulting 10% rate of substandard care is itself disturbingly high. Ex. 53 at 3.

        As Dr. Keller further explained, the reference to gross totals of infirmary admissions,

specialty referrals, and ER referrals is meaningless because Plaintiff did not have access to



        13
            This access came exclusively from the DPSCS directly, as Wexford had relinquished
custody of all medical records without notifying Plaintiff or otherwise taking steps to fulfill its
obligations to retain documents in its possession, custody, or control during the pendency of civil
litigation. Dkts. 477-2. 477-12. This is particularly troubling given that Wexford had previously
sought and obtained a stay of Plaintiff’s federal claims against it via bifurcation of the case, Dkt. 159
at 27, and yet still said nothing despite knowing that it was losing custody of documents centrally
relevant to those stayed claims. See Hodge v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir. 2004)
(noting that spoliation of evidence permits a court to draw an adverse inference against a party who
“knew the evidence was relevant to some issue at trial and this his willful conduct resulted in its loss
or destruction”).
        14
         The records, for example, included multiple death summaries of individuals who died by
homicide following an attack by another prisoner, and contained no indication of the adequacy of
their medical care either before or after the attack.

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information about the quality of care provided to those individuals and Wexford took no effort to

obtain any such information, even while it had possession of all such information. Ex. 53 at 3; Hodge,

360 F.3d at 450. Indeed, Wexford successfully argued for an order prohibiting discovery on these

topics. Dkt. 480 at 2; Dkt. 499 at 26. It would be highly prejudicial to permit Wexford to use against

her at summary judgment information and statistics about medical care Plaintiff was never entitled

to discover. See Saltz, 2021 WL 1856636, at *11.

        Additionally, and regardless of these numbers, both Plaintiff’s and Wexford’s experts agree

that a review of 24 cases is a sufficient sampling in the field of correctional healthcare from which to

reach an opinion about whether or not Wexford maintained a problematic pattern or practice. Dr.

Fowlkes admitted that a review of 24 cases was an adequate sampling, Ex. 33 at 214, although he

differed from Dr. Herrington as to his conclusion. Yet even then, he admitted that in at least 6 of

the 24 cases, he too concluded there was a meaningful delay in referring the patient to the ER. See

supra § I.D.3.

        Wexford’s remaining arguments on Plaintiff’s widespread practice claim focus on attacking

Plaintiff’s experts and arguing about factual differences between Ms. Neal’s case and the 19 other

incidents that Dr. Herrington discusses. Wexford’s attacks on Plaintiff’s experts should be rejected

for the reasons set out in Section IV below. Wexford’s arguments regarding the factual differences

between Ms. Neal’s case and the other cases discussed by Dr. Herrington are similarly unpersuasive.

Wexford first argues that any cases that occurred before July 2012 cannot be attributable to Wexford

as part of Plaintiff’s widespread practice claim. Def. Br. at 24. But a reasonable jury could disagree.

Wexford had nearly complete access to information about patient care and quality of care. See supra

§§ I.E, I.G; Randall, 302 F.3d at 210.

        Despite that notice, when Wexford took over as the sole medical provider in July 2012, it

simply rehired nearly all of the same staff who had previously worked for Corizon for the same


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positions. Ex. 31 at 44-45; Ex. 34 at 76, 89. Wexford made no changes to the daily practices that

medical staff followed once Wexford took over; their jobs stayed basically the same. Ex. 31 at 46-50;

Ex. 29 at 6-9. Indeed, throughout the period Wexford had the direct patient care contract, the

policies and practices remained virtually the same (except for the gatekeeper requirement added to

Wexford’s UM policy). Ex. 29 at 7-9; Ex. 31 at 48. A reasonable jury could thus fairly attribute pre-

July 2012 incidents to a known and ongoing practice that Wexford was deliberately indifferent in

failing to address. Spell, 824 F.2d at 1390.

        Wexford’s remaining quibbles about various factual differences between Ms. Neal’s case and

the other cases discussed by Dr. Herrington are no basis to grant summary judgment.15 For example,

Wexford notes that some of the cases involved emergent medical needs due to cardiac issues rather

than stroke. And for one of the stroke cases, E. Ho., Wexford notes that he (unlike Ms. Neal) had a

history of elevated blood pressure, although Wexford offers no explanation as to why this renders E.

Ho.’s case so vastly dissimilar that it may not be considered as a matter of law. Simply put, these

differences are at best an argument for Wexford to make to the jury and not a basis for summary

judgment in their favor. Howell v. Wexford Health Sources, Inc., 987 F.3d 647, 656-57 (7th Cir. 2021)

(noting that when providing evidence of other incidents in support of a Monell widespread practice

claim, “the comparator need not be perfect[,]” and analogizing to employment discrimination

claims). Plaintiff has provided sufficient evidence of a widespread practice maintained and



        15
           Wexford also argues that four other cases may not be considered either because the patient
was primarily under the care of mental health providers (F.R.) or because Dr. Herrington did not
expressly cite a delay/denial of referral to an ER as an issue in his report (M.G., R.A., and J.M.). As
to F.R., the issues that Dr. Herrington identified related to medical care provided by Wexford nurses
and not mental health care. Ex. 146 at NEAL 44455 (noting that nurse and physician in the medical
clinic were notified of obvious signs of medical emergency but directed mental health staff to simply
continue monitoring patient without referral to the ER). As to M.G., R.A., and J.M., as discussed
above, see supra § I.D.2, Dr. Herrington explained how the issues he identified in those cases led to
delays and denials in offsite and emergency care. A reasonable jury could credit that explanation and
find that the cases support Plaintiff’s claim.

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encouraged by Wexford, and certainly known by it to have dangerous consequences for patient

health and safety that manifested vin several examples. Summary judgment must therefore be

denied.

III.      A Jury Could Reasonably Conclude that Wexford’s Express Policies Caused Ms.
          Neal’s Death

          A corporation or municipality may commit a constitutional violation through an express

policy. As the name suggests, the express policy theory permits a plaintiff to hold a corporation

liable for a constitutional violation that is caused by one of the corporation’s “formal rules or

understandings—often but not always committed to writing—that are intended to, and do, establish

fixed plans of action to be followed under similar circumstances consistently and over time.”

Pembaur v. City of Cincinnati, 475 U.S. 469, 480-81 (1986); Semple v. City of Moundsville, 195 F.3d 708,

712 (4th Cir. 1999). Under this type of claim, a single application of the policy that causes a

constitutional violation is sufficient to establish liability. City of Oklahoma City v. Tuttle, 471 U.S. 808,

822 (1985); Monell, 436 U.S. at 690 (liability may be imposed against a corporation when “the action

that is alleged to be unconstitutional implements or executes a policy statement, ordinance,

regulation, or decision officially adopted and promulgated by that body’s officers”).

          Wexford maintained two express policies that played a causal role in the violation of Ms.

Neal’s constitutional rights: (1) its UM policies, UM-001 and UM-002, which governed ER referrals

after hours; and (2) its across-the-board reduction in ER trips.

          A.     Wexford’s Utilization Management Policies Caused a Fatal Delay in Sending
                 Ms. Neal to the Emergency Room

          As discussed in detail above, when Wexford took over direct care in July 2012, it issued a

new UM policy. The plain language of that policy (provisions UM-001 and UM-002) required

nursing staff to obtain approval from a supervising physician prior to referring patients to the ER




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for emergency care.16 A critical change in the policy’s language is especially telling: the clear direction

in the old UM policy that “[u]rgent and emergent referrals are automatic approval as to not delay any

care” was removed. See supra § I.B. Furthermore., multiple Wexford employees testified that the policy

of requiring physician approval before calling 911 for a patient to be taken to the ER was, in fact, in

effect during the relevant time frame. See supra § I.B; see also Jackson v. City of Cleveland, 925 F.3d 793,

830-34 (6th Cir. 2019) (finding that a jury was required to decide whether a city’s express policy

caused plaintiff’s constitutional violation, in light of the context and testimony regarding the policy).

        There is no dispute that UM-001’s and UM-002’s requirement for nursing staff to obtain

physician approval before calling 911 was dangerous and posed an obvious risk of substantial harm

to individuals, like Ms. Neal, in DPSCS custody; Wexford’s corporate designees, supervisors, and

experts all agree. See supra § I.B. And there can be no dispute that the policy is attributable to

Wexford. See supra § I.B. That Wexford nevertheless asks this Court to find that there is not, at

minimum, a factual dispute on this point that must be resolved by a jury is further evidence that its

summary judgment is deeply flawed in its premise.

        There can be little dispute that a reasonable jury could similarly find that the policy caused a

fatal delay in referring Ms. Neal to the ER. Because of Wexford’s express policy requiring physician

authorization before calling 911, the nurses who discovered Ms. Neal unresponsive nevertheless

waited for more than three hours to call 911 because they were initially unable to get in touch with

the physician who was designated as being the on-call gatekeeper. See supra § II. Plaintiff has further

adduced sufficient evidence, including from Wexford’s own experts, to permit a jury to conclude



        16
           In its brief, Wexford makes no mention of UM-001 and UM-002, acting as if they do not
exist. As a result, Wexford has forfeited any argument that it might have made for summary
judgment on this claim. See Russell v. Absolute Collection Servs., Inc., 763 F.3d 385, 396 n.* (4th Cir.
2014) (citing Eriline Co. v. Johnson, 440 F.3d 648, 653 n.7 (4th Cir. 2006)). It will be too late to raise
any argument on this theory for the first time in reply, and the Could should thus find that Wexford
has forfeited its argument. A Helping Hand, LLC, 515 F.3d at 369.

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that Ms. Neal would have likely survived but for this three-hour delay, which was thus a cause of her

death. See supra § II.B. Summary judgment should therefore be denied.

        B.         Wexford’s Policy to Reduce ER Trips Across the Board Caused a Violation of
                   Fatima Neal’s Constitutional Rights

        Independently, Wexford also implemented a separate policy to reduce ER trips across the

board, across all sites (including the BCDC) and without limitation to discrete medical conditions.

Pembaur, 475 U.S. at 480-81 (official policy refers to rules, “often but not always committed to

writing” intended to “establish fixed plans of action”). Wexford argues in its brief that it did not

promulgate such a policy, and that to the extent it did DPSCS is responsible for the policy--an

argument that contradicts the law and requires the Court to draw factual inferences in Wexford’s

favor. Plaintiff discusses the policy at issue before turning to Wexford’s arguments below.

         Wexford articulated its policy initially in its proposal to the State of Maryland, guaranteeing

a 10% reduction in all offsite visits, including ER visits. It made this guarantee despite its awareness,

through its role as UM contractor for several years before taking over all medical care in DPSCS

facilities, that there were very few instances in which patients were being sent to the ER

unnecessarily (less than 2% of all ER trips). See supra §§ I.C.1, I.C.2.

        When Wexford took over all aspects of medical care in July 2012, it immediately began to

implement its policy to reduce ER trips across the board. The policy applied across all sites, to all

categories of conditions, and was not supported by any commensurate expansion of on-site

capabilities or auditing to ensure the policy was not producing negative patient outcomes. See supra

§§ I.C.3, I.C.4.

        Wexford administrators, in both the Baltimore pretrial region and throughout the state,

routinely reported that the ER reduction policy was proving successful, and that ER trips remained

low. See supra § I.C.2; Ex. 60 at WEXDISC 26092-93. In fact, such reports remained consistent

throughout the 2012-2014 timeframe, and none of the references included any limitation to those

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efforts by medical issue or otherwise. See supra § I.C. To the contrary, at least one CQI report made

clear that Wexford’s policy was designed to “[m]inimize the number of ER runs for the month” and

to instead “[h]ave emergent cases seen on site.” Ex. 7 at WEXDISC 28546.

         As discussed in Section II above, the policy remained in effect even as problems with ER

referrals were identified. See supra § I.C.3; Ex. 139 at WEXDISC 25963 (response to concern of

“time delay in responding to emergencies” with goal of lowering ER runs to “less than 20

monthly”). Wexford’s policy was obviously dangerous, and indeed both Wexford and its expert

agreed that such efforts were highly dangerous if not accompanied by a commensurate increase of

resources to provide adequate treatment onsite, as well as robust quality control oversight. See supra §

I.C.4.

         A jury could reasonably conclude that Wexford’s policy to reduce ER visits across the board

caused the denial and delay of an ER referral in Ms. Neal’s own case. Indeed, the causal connection

between Wexford’s policy and the facts of Ms. Neal’s case could not be closer. As this Court

previously noted, a jury could conclude that Ms. Neal required referral to an ER on November 1,

when she was instead admitted to the infirmary for observation with a noted release date of

November 5. Bost, 2018 WL 3539819, at *26-27, Dkt. 430 at 53. On the whole, the jury could thus

reasonably conclude that the failure was the reasonably probable result from Wexford’s policy to

reduce ER visits across the board.17 Spell, 824 F.2d at 1390.

         In its motion, Wexford attempts to confine its policy to a single document—the

“Emergency Room Visit Reduction Program”—that it contends was written by its predecessor



         17
           Wexford argues that Plaintiff has failed to establish causation because some of its
employees denied the existence of a policy to delay or deny emergency care. But such denials nearly
always exist in cases where the facts are as hotly disputed as this one. The relevant question for this
Court is whether, crediting all of Plaintiff’s evidence and taking all reasonable inferences in her
favor, a jury could reasonably conclude that Wexford’s policy did exist and caused Ms. Neal’s death.
Kovari v. Brevard Extraditions, LLC, 461 F. Supp. 3d 353 371-72 (W.D. Va. 2020). The answer is yes.

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Corizon, was limited to three unrelated medical conditions, and ended more than a year before Ms.

Neal’s death. Def. Br. at 10. But as discussed in detail above, Wexford’s factual contentions about

the policy are either disputed by other evidence in the record or else totally unsupported by the

record. The properly construed factual record would permit a reasonable jury to conclude that the

policy was, in fact, written and promulgated by Wexford, remained in effect through Ms. Neal’s

death, and was intended to (and did) expand throughout its lift. See supra §§ I.B, I.C.2, I.C.3; Ex. 4 at

WEXDISC 20923-30.

        Even if Corizon had initially drafted the policy--and Wexford has presented no evidence that

it did--the CQI annual report in which the Emergency Room Visit Reduction Program was

promulgated was published after Wexford replaced Corizon as the sole medical care contractor in

July 2012, and thus the policy is fairly attributable to Wexford. Notably, this would be the case even

if Wexford had not altered a single word in the policy. See Awalt, 74 F. Supp. 3d at 940-41 (rejecting

private medical care corporation’s argument that policy was attributable to another corporation

because even if true, the corporation had “abdicated its responsibility” to protect detainees in its

care); King v. Kramer, 680 F.3d 1013, 1020-21 (7th Cir. 2012) (municipal corporation that delegates

policymaking authority to another corporation does not immunize itself but instead make it liable

for the policies of the contractor). Of course, Plaintiff’s claim is not limited to the text contained

within Exhibit 4. Instead, Plaintiff’s express policy claim is based on Wexford’s policy to reduce ER

visits across the board throughout DPSCS sites when it took over the contract in July 2012. See supra

§ I.C; see also Jackson, 925 F.3d at 830-34 (jury was required to decide whether a city’s express policy

caused plaintiff’s constitutional violation, in light of the context and testimony regarding the policy).

And the evidence clearly establishes that that policy was promulgated and implemented by Wexford.

        Wexford argues generally that it had no authority to make policy on any subject, no matter

the context, because of its contractual relationship with the DPSCS and thus had no policies in place


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in the State of Maryland during any point. Def. Br. at 12-14. In support of this argument, Wexford

cites to cherry-picked quotes from Dr. Sharon Baucom, taken in isolation, that do not even support

the proposition. But when placed in its proper context and taken in Plaintiff’s favor, the evidentiary

record would easily permit a reasonable jury to find that Wexford was not only able but affirmatively

required to promulgate and implement policies for its employees to follow, of which Wexford’s

policy of reducing ER visits was one example.

        Wexford’s contract with the DPSCS presumed that Wexford would promulgate and

implement policies, providing for a procedure in the event that Wexford’s policies “conflict[ed]”

with the policies of DPSCS. Ex. 138 at WEXDISC 333-34. Wexford’s Rule 30(b)(6) designee, Dr.

Neil Fisher, has admitted that the Utilization Management Policies and Procedures (which contain

UM-001 and UM-002) comprised “Wexford’s policies and procedures [that] were related to [UM]”

in Maryland, Ex. 36 at 33-34, and Dr. Baucom herself noted that Wexford had an emergency care

policy that was separate and distinct from an emergency care policy promulgated by the DPSCS.

This was in line with Dr. Baucom’s view of DPSCS’s role: to set broad guidelines based on

community standards of care while Wexford was responsible for creating policies that dealt with the

most discrete and specific functions of medical care within DPSCS facilities. Wexford was also

tasked with implementing DPSCS’s high-level policies, and to create its own policies for doing so

without any need for DPSCS approval. See Ex. 14 at 42-44, 46, 72-74, 77, 127-28, 142-43, 163-

170; Ex. 20 at 32, 80; Ex. 19 at 8-9, 27-28.

        The contrary testimony cited by Wexford is just that—other testimony—that at best creates

a dispute of fact that a jury must resolve at trial. See Tolan, 572 U.S. at 660. For example, Wexford

cites to the provision of the contract that appears to require DPSCS approval of Wexford’s policies

and procedures prior to implementation. Def. Br. at 12. But there is no evidence in the record of

DPSCS ever being provided or approving UM-001 and UM-002 (or the policy manual in which they

                                                   58
were located). In fact, the contract appears to have permitted Wexford to promulgate and modify

policies without DPSCS approval because there was a policy regarding emergency care already in

existence. See generally Ex. 82; Ex. 138 at WEXDISC 332-34 (no requirement for contractor to

submit modified policies for approval or review); see also supra § I.B. These facts, when placed in

context, do not immunize Wexford from liability for its policy to reduce ER visits across the board.

        Wexford’s argument also appears to request a blanket rule of immunity irrespective of facts.

In other words, Wexford is not arguing about whether any individual employee in particular is a final

policymaker, but instead asserting that its own conduct is wholly immune from suit because the

State of Maryland, and not Wexford, dictates Wexford’s actions. Wexford cites no authority for this

remarkably expansive proposition, and for good reason, as the only authority makes plain that for-

profit corporations that contract with a state to provide medical care have no immunity by virtue of

the contract. See, e.g., Glisson v. Ind. Dep’t of Corrs., 849 F.3d 372, 379-80 (7th Cir. 2017) (en banc)

(Corizon could be held liable for its policies within the Indiana Department of Corrections);

McDonald v. Dunning, 760 F. Supp. 1156, 1171 (E.D. Va. 1991) (rejecting attempt by one municipal

corporation to blame another for a policy because it “ignores the [corporation’s] independent duty”

to protect the constitutional rights of individuals under its control).

        As discussed above, the factual record easily permits a jury to conclude that Wexford itself

maintained a policy to reduce ER trips across the board, and that the policy was neither one

promulgated by the DPSCS nor simply errant conduct by employees that could not fairly be

attributed to Wexford itself. This is precisely the sort of action that the Supreme Court and the

Fourth Circuit have recognized give rise to a suit against the municipal corporation. Monell, 536 U.S.

at 669 (municipal corporations are amenable to suit under § 1983 for their own conduct); Owens, 767

F.3d at 402 (corporations “cannot claim immunity from suit, [but] the Supreme Court has expressly

cabined their liability: under Monell, a municipality is liable only for its own illegal acts”); Glisson, 849


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F.3d at 379 (“The critical question under Monell, reaffirmed in Los Angeles v. Humphries, 562 U.S. 29

(2010), is whether a municipal (or corporate) policy or custom gave rise to the harm (that is, caused

it), or if instead the harm resulted from the acts of the entity’s agents.”).

        Wexford argues that Hunter v. Town of Mocksville, 897 F.3d 538 (4th Cir. 2018), compels this

Court to provide it immunity, but Hunter establishes the opposite proposition: that the evidentiary

record matters for purposes of determining the identity of a corporation’s final policymaker. 897

F.3d at 555-58 (noting that a decision to the contrary would “insulate the [municipal corporation]

from liability in virtually every case—a result contrary to the principles underlying Section 1983”); see

also Washington v. Baltimore Police Dep’t, 457 F. Supp. 3d 520, 541 (D. Md. 2020) (noting that entities

may properly be deemed as joint final policymakers); Santos v. Frederick Cty. Bd. of Comm’rs, 346 F.

Supp. 3d 785, 795 (D. Md. 2018) (determining final policymaker based, in part, on the factual record

of the case); cf. Estate of Alvarez v. Johns Hopkins Univ., 275 F. Supp. 3d 670, 690 (D. Md. 2017)

(noting the “practical difficulties of applying Monell to private entities”).

        Wexford’s policy to reduce ER visits across the board was clearly a policy, and not just a

decision that merely implemented DPSCS’s policies. The policy was created by Wexford without any

evidence of input or oversight from DPSCS, served Wexford’s goal of maximizing its profits, and

clearly reflected a formal understanding intended to establish a fixed plan of action for its employees

to follow under similar circumstances consistently over time. See Pembaur, 475 U.S. at 480-81; Semple,

195 F.3d at 712. An individual or entity has final policymaking authority when it has “authority to

set and implement general goals and programs of municipal government, as opposed to

discretionary authority in purely operational aspects of government.” Spell, 824 F.2d at 1386. The

factual record permits a reasonable jury to conclude that Wexford had precisely that authority with

regard to the ER reduction policy.




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IV.     A Jury Could Conclude that Wexford Failed to Train or Supervise Its Individuals
        Despite Knowing that Such Training and Discipline Was Necessary to Protect
        Patient Health

        Failing to train or supervise individuals can similarly support liability under Monell if that

failure “manifest[s] deliberate indifference to the rights of citizens[.]” Canton, 489 U.S. at 388-89. An

entity is deliberately indifferent if an entity is actually aware that its employees are regularly violating

constitutional or statutory rights, and fails to implement a training program to put a stop to this

pattern. See, e.g., id. at 388-90; see also id. at 397 (O’Connor, J., concurring in part and dissenting in

part); Spell, 824 F.2d at 1390. And while a generalized policy of failing to train can establish Monell

liability, as Defendants assert, an entity can also be liable for failing to train based on a single event if

the need for training was obvious and employees were certain to encounter a situation in which they

would rely on that training. Brown v. Mitchell, 308 F. Supp. 2d 682, 704 (E.D. Va. 2004) (citing Canton,

489 U.S. at 390). The injury must also be “closely related to the ultimate injury.” Canton, 489 U.S. at

390-91. There is evidence on which a reasonable jury could conclude that Wexford failed to train its

providers to recognize neurological emergencies and send those patients to the emergency room,

both as a matter of practice and based on the obviousness of the need for training. See id. at 390.

        Wexford was aware that going back to 2010, medical providers were failing to recognize

neurological symptoms and timely send patients to the ER. See supra §§ 1.D.2-5 (delays with sending

patients to the ER from cases like R.G., C.A., E.A., and S.P.; CQIs regarding nurses’ inability to

identify neurological symptoms; and additional CQIs and CAPs). But Wexford took no steps toward

addressing these failures of care when it took over the contract. Ex. 140 at 55; Ex. 140 at 338-39;

Ex. 38 at 349-50; Ex. 141 at 56-57, 78, 300; Ex. 21 at 179; Ex. 20 at 266-68; Ex. 25 at 379-80, 382,

385, 508; Ex. 17 at 35, 39; Ex. 142 at 49, 129; Ex. 25 at 344-45; Ex. 28 at 228; Ex. 140 at 136; Ex. 26

at 218-220; Ex. 38 at 84-85.




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        Within weeks of Wexford’s takeover, C.R. had died from a stroke at a Baltimore Jail.

Wexford’s own CAP admitted that his stroke symptoms should have precipitated an immediate ER

referral, and that his death resulted from a failure to timely send him to the ER. See supra § I.D.4. But

even though Wexford was aware of these failures and DPSCS’s medical director voiced her

discontent with Wexford’s response to C.R.’s death, see supra § I.D.4, Wexford’s health services

administrator said she was unaware of any specific training related to C.R.’s death, Ex. 19 at 34.

Wexford was consciously aware of a problem with its providers recognizing neurological symptoms

and timely sending patients to the emergency room, but did nothing about it, despite the obvious

associated risks. See Spell, at 824 F.2d at 1390; Brown, 308 F. Supp. 2d at 705 (“if the supervisory

power fails to train subordinates who will almost certainly encounter situations implicating the

constitutional right, it is fair to state that the supervisory power has made a ‘deliberate or conscious

choice.’”) (quoting Canton, 489 U.S. at 389).

        Four months later, Fatima Neal died at the BCDC for the very same reasons, see Ex. 48 at

19—Wexford providers failed to recognize her obvious stroke systems and refused to timely send

her to the ER—and Wexford declined to write a CAP, train, or discipline a single provider involved

in her death. See Ex. 140 at 55; Ex. 142 at 49, 129; Ex. 25 at 344-45; Ex. 28 at 228; Ex. 140 at 136;

Ex. 26 at 218-220; Ex. 38 at 84-85. Seven months after that, T. Lo died after being denied offsite

care, despite displaying obvious symptoms requiring emergency care. See supra § I.D.2, I.D.4; Ex. 33

at 321. As it did with C.R., Wexford recognized failures to document and communicate changes in

her condition, like rapidly deteriorating vital signs, weakness, and vomiting; and acknowledged that

she should have been sent out to the ER earlier. Ex. 48 at 19; Ex. 10 at WEXDISC 22434. Wexford

also acknowledged that the problems with T. Lo’s care were “repeat issues.” Ex. EE15 at

WEXDISC 23861. Yet Wexford did not train or discipline anyone in relation to her death. Ex. 19 at

34.


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        As for the relationship between the failure to train and Fatima Neal’s injury, Plaintiff has

presented evidence that the failure to recognize Ms. Neal’s neurological symptoms and timely send

her to the ER caused her death. See supra § II.A, II.B.

        Wexford asserts, without citation, that the four months between when it took over the

contract and when Ms. Neal died was not enough time for it to understand its providers’ current

levels of training and then implement new training. This argument is flawed for several reasons.

First, Wexford was well aware through CAPs, CQIs, and death reviews, of the quality of care

Corizon was providing before July 2012, and the delays with sending patients to the ER from cases

like R.G., C.A., E.A., and S.P; and thus, the obvious need for additional training. See supra § I.G.

Indeed, a November 1, 2012 CAP, before Ms. Neal’s death, identified a clear need to train nursing

staff on neurological issues. Id. Second, Wexford’s own expert admitted that four months is more

than enough time to implement necessary changes, if the company considers them a high enough

priority. Ex. 16 at 104-05. As reflected by the fact that problems with timely sending neurological

patients and others experiencing medical emergencies to the ER persisted before Ms. Neal’s death

with Wexford’s knowledge, and for years after Wexford took over, see supra §§ I.D.2, I.D.4, I.G,

Wexford simply did not make it a priority.

 V.     Plaintiff’s Experts, Drs. Keller and Herrington, Have Disclosed Reliable Expert
        Opinions That Are Amply Supported by the Factual Record

        Unable to challenge Plaintiff’s ample evidentiary records, set forth above, Wexford tries for a

moonshot. It asks this Court to entirely ignore the expert opinions from Drs. Keller and Herrington

because their reports lack a sufficient factual basis and are therefore not reliable or admissible. But

Plaintiff’s experts have produced thorough reports detailing and discussing the voluminous materials

they reviewed, the relevance that those materials had in light of their experience and training in

correctional healthcare, and the opinions that they ultimately reached based upon their detailed

review of the factual materials and their background, training, and expertise. Wexford’s argument

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that Drs. Keller’s and Herrington’s expert reports are unreliable and therefore unavailable for

reliance at summary judgment must be rejected.

          Expert opinion testimony is governed by Rule 702 of the Federal Rules of Evidence. Fed. R.

Evid. 702. Such testimony is admissible if the expert is qualified, and the testimony “both rests on a

reliable foundation and is relevant to the task at hand.” United States v. Landersman, 886 F.3d 393, 412

(4th Cir. 2018); Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993). Rule 702 was “intended

to liberalize the introduction of relevant expert evidence” and the Court accordingly “need not

determine that the expert testimony a litigant seeks to offer into evidence is irrefutable or certainly

correct.” Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th Cir. 1999) (citing Cavallo v. Star

Enter., 100 F.3d 1150, 1158-59 (4th Cir. 1996)). Rule 702 instead provides a “gatekeeping role” for

the district court to ensure that the proffered testimony is sufficiently relevant and reliable so that it

is not more likely to mislead the jury than to enlighten it. Westberry, 178 F.3d at 261. But “[t]he trial

court’s role as a gatekeeper is not intended to serve as a replacement for the adversary system, and

consequently, the rejection of expert testimony is the exception rather than the rule.” In re Lipitor

(Atorvastatin Calcium) Mktg., Sales Practices & Production Liab. Litig. (No II) MDL 2502, 892 F.3d 624,

631 (4th Cir. 2018); see also Ruark v. BMW of N. Am., LLC, 2014 WL 351640, at *6 (D. Md. Jan. 30,

2014) (Daubert inquiry is neither “a tool to challenge the persuasive value of an expert’s conclusions”

nor “intended to take the place of vigorous cross-examination or intrude on the province of the

jury”).

          Bearing these principles in mind, this Court and the Fourth Circuit have previously held that

although opinions that are wholly unsupported by the record may be excluded, “questions regarding

the factual underpinnings of the expert witness’s opinion affect the weight and credibility of the

witness’ assessment, not its admissibility.” Maryland Shall Issue, Inc. v. Hogan, 2021 WL 3172273, at *4

(D. Md. July 27, 2021) (cleaned up) (citing Bresler v. Wilmington Trust Co., 855 F.3d 178, 195 (4th Cir.


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2017)). As the Federal Rules advisory committee itself noted, “[w]hen facts are in dispute, experts

sometimes reach different conclusions based on competing versions of the facts,” and district courts

should not “exclude an expert’s testimony on the ground that the court believes one version of the

facts and not the other.” Fed. R. Evid. 702, advisory committee’s note to 2000 amendment. Courts

in this District thus distinguish between expert opinions based on wholly fabricated or unsupported

facts or premises—which are inadmissible under Rule 702—and expert opinions based on facts that

are in dispute but find support in the record—which are admissible. E.g., Vertellus Holdings LLC v.

W.R. Grace & Co.-Conn., 2021 WL 3883597, at *10 (D. Md. Aug. 12, 2021); Brightview Grp., LP v.

Teeters, 2021 WL 2627960, at *4 (D. Md. Feb. 8, 2021).

       Two of Plaintiff’s retained experts, Dr. Keller and Dr. Herrington, offered opinions about

the policies and practices of Wexford, and the harm that those policies and practices posed to

patients under Wexford’s care. Ex. 48 at 4-5, 22-23; Ex. 49 at 19-21. To reach his opinions, Dr.

Keller reviewed 20 deposition transcripts of testimony from Wexford and DPSCS employees;

hundreds of pages of CQI reports, CAPs, and UM policies and reports; scores of meeting minutes

and reports; email correspondence between and amongst Wexford and DPSCS employees; and

numerous contract documents reflecting the various contracts between Wexford and the State of

Maryland and associated bidding documents, as well as extensive documentation and expert reports

regarding Fatima Neal’s treatment at the BCDC. Ex. 49 at 2-4. To reach his opinions, Dr.

Herrington reviewed nearly all of the same documents that Dr. Keller reviewed, as well as records

relating to the treatment of several other individuals incarcerated by the DPSCS. Ex. 48 at 2-4.

       Wexford does not dispute that Drs. Keller and Herrington are qualified to offer the opinions

set forth in their report. Nor could it. Dr. Herrington began working in correctional healthcare in

1998 and has held leadership positions within correctional healthcare systems in Ohio, Maine,

Vermont, and Washington. Ex. 48 at 29-31. Throughout his career, Dr. Herrington has consistently


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provided direct patient care to incarcerated individuals within the correctional setting. Id. Dr. Keller

has also worked extensively in correctional healthcare, including serving as the Chief Medical Officer

for a private medical care provider that, like Wexford, contracted with various departments of

corrections to provide healthcare. Ex. 49 at 22. Dr. Keller has been responsible for both the policies

and practices of a corporation like Wexford, and has provided direct patient care in the carceral

setting. In short, both Drs. Keller and Herrington are eminently qualified to opine on Wexford’s

policies and practices, as well as the adequacy of care that Fatima Neal and other individuals received

as a result of those policies and practices. Id. at 22-24.

        Wexford similarly does not dispute the relevance of Dr. Keller’s and Dr. Herrington’s

opinions. Instead, Wexford contends that each expert’s opinion testimony is inadmissible because it

lacks a sufficient factual basis and is therefore unreliable. But as Wexford explains why it believes

Drs. Keller’s and Herrington’s opinions are unsupported by the factual record, it becomes clear that

Wexford’s dispute is not at all about whether Drs. Keller’s and Herrington’s opinions find support

in the evidentiary record. Instead, it is about whether other evidence in the record, with the added

benefit of inferences made in Wexford’s favor, would support a contrary opinion—espoused by the

experts retained by Wexford—that Wexford’s conduct is exemplary and beyond reproach. In other

words, Wexford’s dispute is not with the reliability of the opinions of Drs. Keller and Herrington,

but instead “the factual underpinnings of the [expert witness’] opinion[s]” which the Fourth Circuit

has held do not affect the admissibility of the experts’ opinions. Bresler, 855 F.3d at 195. Wexford’s

Daubert challenge should therefore be rejected.

        A.      Wexford’s Attacks on Dr. Keller’s Expert Report Are No Basis to Exclude His
                Opinions

        Wexford complains about the fact, noted by Dr. Keller in his report, that patient deaths

increased by 28% statewide and 40% regionally in the two years after Wexford took over direct

patient care in DPSCS facilities, as compared to the two years before Wexford took over direct

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patient care. Def. Br. at 20; Ex. 49 at 15-16. Wexford does not dispute that calculation or attack the

data upon which it is based. Instead, it contends that Dr. Keller should have used different data so

that the trends would not be so inculpatory. Wexford argues, without explanation or citation to any

authority, that Rule 702’s reliability requirement mandated Dr. Keller to use the years Wexford

prefers. But this Court previously held, at Wexford’s urging, that the 2010-2014 was the “relevant

time period for discovery.” Dkt. 480 at 2; see also Dkt. 500 (denying Plaintiff’s objection). By arguing

that 2010-2014 was the relevant time frame by which to adjudicate Plaintiff’s claims in this case,

Wexford obtained a benefit: a substantial limitation of discovery against it. Estoppel precludes it

from now advancing a directly contrary position to gain a different advantage. New Hampshire v.

Maine, 532 U.S. 742, 749 (2001) (“[J]udicial estoppel generally prevents a party from prevailing in

one phase of a case on an argument and then relying on a contradictory argument to prevail in

another phase.” (cleaned up)). Even if estoppel did not apply, Wexford’s quibbles with the various

statistics and their impact on Dr. Keller’s opinions would at best be a matter for cross-examination.

See, e.g., Burns v. Anderson, 123 F. App’x 543, 549 (4th Cir. 2004) (rejecting Rule 702 challenge to

expert for failing to review certain documents that purportedly would have influenced expert’s

opinions); Glass v. Anne Arundel City., 38 F. Supp. 3d 705, 716 (D. Md. 2014) (party’s objection to the

conclusions from expert’s analysis “and to [the expert’s] failure to take other data into account” go

to the “weight of the report, not its admissibility, and may be challenged on cross-examination”).

        Wexford also argues that Dr. Keller’s opinions are unreliable because they do not credit

Wexford’s contention that it “sought to raise the quality of the in-house care” and “that cost was not

a consideration” for Wexford or its employees. Def. Br. at 21-22. But those contentions are at the

heart of the parties’ dispute. Wexford is effectively asking this Court to rule that Dr. Keller’s

opinions are unreliable merely because they do not support Wexford’s position in the litigation—a

request that the Fourth Circuit has repeatedly held is off limits in the context of both summary


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judgment and a Daubert inquiry. Bresler, 855 F.3d at 195 (when conducting Daubert inquiry, “courts

may not evaluate the expert witness’[s] conclusion itself, but only the opinion’s underlying

methodology”); Jacobs, 780 F.3d at 568-69 (at summary judgment, court may not take inferences that

are contradicted by the non-movant’s competent evidence).

        Moreover, Dr. Keller did consider and address the contentions asserted by Wexford in its

motion. In his report, Dr. Keller thoroughly discussed how a private healthcare company properly

balances appropriate cost-saving initiatives with critical quality control metrics. Ex. 49 at 4-8. Dr.

Keller further discussed the proper scope of a legitimate initiative to reduce ER referrals—i.e., an

initiative that provides targeted training to providers to avoid non-emergent referrals that are

required because of a lack of skills, such as suturing. Id. at 5-6. Dr. Keller simply concluded,

following a thorough review of a wealth of evidence in the record, that Wexford’s conduct indicated

that it was neither balancing cost-saving initiatives with quality control metrics in a legitimate fashion

nor properly limiting the scope of its ER reduction efforts. Id. at 8-21. Wexford is entitled to

disagree with those conclusions, but the proper arbiter of that disagreement is a jury—not this Court

at summary judgment. McCoy v. Biomet Orthopedics, LLC, 2021 WL 252556, at *11 (D. Md. Jan. 25,

2021) (“The trial court should meticulously focus on the expert’s principles and methodology, and

not on the conclusions that they generate.” (cleaned up)).

        Wexford’s remaining quibbles with Dr. Keller’s opinions similarly fall well short of any basis

to exclude them under Rule 702. For example, Dr. Keller opines that when Wexford took over

direct patient care, it subordinated the CQI function to UM priorities, and that as a result, CQI

began to focus on cost-cutting initiatives like reduction of ER referrals. Ex. 49 at 7. Wexford

contends that Dr. Keller’s statement that CQI began to focus on cost-cutting initiatives is wholly

unsupported by the record. But Wexford is just plain wrong: the emails and documents cited by Dr.

Keller clearly support the statements contained in his report. For example, one of the documents


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cited by Dr. Keller, an email sent from Donna James to UM Directors Drs. Smith and Getachew

communicates that one of the actions Ms. James was taking in her role as CQI director was to

conduct regional studies about ER referrals for individuals with cardiac issues “based on UM data,”

Ex. 143, which Ms. James testified expressly was one of the ways “in which [she was] being

essentially asked to incorporate UM’s work into your CQI work” and that Wexford was “merging

CQI and UM together[.]” Ex. 21 at 165:13-166:1; see also id. at 163:17-164:9 (testifying that

WEXDISC 26107 referred to efforts to address patients being sent out for chest pain). The

documents cited in Dr. Keller’s report further establish that one of the prominent CQI “action

plans” was in fact a UM initiative to reduce ER referrals, thereby reducing Wexford’s out-of-pocket

expenses and increasing its profits under the contract. See supra § I.C.3; see also, e.g., Ex. 145 at

WEXDISC 25482 (noting with satisfaction how “ER numbers are trending” as a whole); Ex. 6 at

WEXDISC 25838 (noting that the emergency run rate “continues to decline”).

        As Dr. Keller notes, James confirmed at her deposition that discussions in CQI documents

about ER runs came from the UM department and “there was a lot of discussions having to do with

ER runs.” Ex. 21 at 150-52. And Dr. Keller explained in detail that UM is inherently a cost-cutting

focused function, Ex. 49 at 5 (“UM is a program designed to reduce costs.”), an opinion that is

hardly controversial. See, e.g., Ex. 21 at 32-33, 150-151; Ex. 31 at 13; Ex. 30 at 17-18; Ex. 36 at 71-72.

Indeed, it is undisputed that a reduction of ER referrals—and the costs associated with those

referrals—increased Wexford’s profits, as Wexford generally bore the sole financial responsibility for

such referrals. Ex. 96 at 3. These opinions are amply supported. See Vertellus Holdings LLC, 2021 WL

3883597, at *11.

        Finally, Wexford quibbles with Dr. Keller’s conclusion about the ER trend analysis included

in Wexford’s 2012 CQI report. Def. Br. at 19; Ex. 80 at WEXDISC 20930. To be clear, Dr. Keller

correctly notes that the referenced chart itself reflects a trendline that plummets from just over 10


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ER referrals per 1,000 prisoners to just over 2 ER referrals per 1,000 prisoners—a reduction of

80%. Id.18 Wexford’s insistence that certain other data points within the set are more accurate is

clearly a matter for cross-examination and not grounds for exclusion. See Westberry, 178 F.3d at 261.

Similarly, Wexford’s argument about the relevance of this data is meritless. Dr. Keller clearly

explained that the reduction was relevant because it should have immediately caused Wexford to

conduct an inquiry as to whether or not the efforts to reduce ER referrals were endangering

patients. Ex. 49 at 15. Wexford does not meaningfully address why this opinion is not relevant to

Plaintiff’s case or how it is not reliable given the wealth of data upon which it is based. See, e.g., Sprint

Nextel Corp. v. Simple Cell, Inc., 2016 WL 524279, at *3 (D. Md. Feb. 10, 2016) (Rule 702 permits an

expert to offer opinions based on his experience so long as the expert sufficiently explains the

experience and connection between the facts considered, experience, and opinions reached).

Wexford’s attacks on Dr. Keller’s opinions should accordingly be rejected.19




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          A trendline, like the one Wexford included in its ER trend analysis, helps provide a visual
understanding of the upward or downward trend of data, even when a particular data point is
aberrantly high or low.
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           In an “appendix” attached to its motion for summary judgment, Wexford also contends
that Dr. Keller’s misrepresented the record when he stated that “[d]uring [monthly budget
meetings], Wexford leadership discussed how Wexford’s actual costs compared with its budget and
expected profit margin, and what could be done to increase profitability.” Dkt. 537-4 at 1-2; Ex. 49
at 12. But a review the deposition testimony cited with particularity by Dr. Keller—a task that
neither of Wexford’s experts bothered to undertake—demonstrates that the record amply supports
the statement. Director of Operations McKee testified that during these budget meetings, the
conversations “are always the same” and included asking “is there anything that we can do to
increase our, our profitability?” Ex. 20 at 239:1-12. McKee further testified that the trending margin
of profit would be discussed, as well as expenditures, including “the amount of money spent on off-
site care” which was discussed “every month[.]” Id. at 242:11-243:5. Ms. Scott confirmed that the
monthly budget meetings involved discussion of the “budget versus actual expenses for sending
people off site for care” and would discuss how to reduce expenditures that Wexford could control,
including reduction of the number of ER visits. Ex. 35 at 110:3-8, 112:3-11. Dr. Fisher likewise
confirmed that Wexford’s actual off-site care expenses, and the comparison to Wexford’s budgeted
figures, were discussed in every meeting. Ex. 36 at 122:1-123:18.


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        B.       Wexford’s Attacks on Dr. Herrington’s Expert Report Are No Basis to
                 Exclude His Opinions

        Wexford’s complaints about Dr. Herrington’s opinions fare no better. Wexford’s primary

argument for exclusion of Dr. Herrington’s opinions centers on his review and thorough analysis of

records reflecting treatment of several other individuals incarcerated by the DPSCS. Wexford first

argues that the 19 other examples of inadequate care identified by Dr. Herrington in his report

cannot establish a pattern or practice for purposes of Monell. As discussed above, that argument is

incorrect as a legal matter. It is also incorrect as it applies to the reliability and admissibility of Dr.

Herrington’s report.

        As discussed above, Plaintiff was given access to case-related documents for only 193

patients;20 of those, Plaintiff received medical records for just 47 patients; Dr. Herrington found

significant lapses in care in 19 of those 24 cases (79.2%). See supra Arg. § II.D. As Dr. Keller

explained in his rebuttal report, the reference to gross totals of infirmary admissions, special

referrals, and ER referrals is meaningless because Plaintiff did not have access to information about

the quality of care provided to those individuals and Wexford took no effort to obtain any such

information, even while it had possession of all such information. Ex. 53 at 3 (noting that applying

even the most conservative 10% lapse rate would yield potentially thousands of cases with

meaningful lapses in care); Hodge, 360 F.3d at 450.




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            This access came exclusively from the DPSCS directly, as Wexford had relinquished
custody of all medical records without notifying Plaintiff or otherwise taking steps to fulfill its
obligations to retain documents in its possession, custody, or control during the pendency of civil
litigation. Dkts. 477-2, 477-12 . This is particularly troubling given that Wexford had previously
sought and obtained a stay of Plaintiff’s federal claims against it via bifurcation of the case, Dkt. 159
at 27, and yet still said nothing despite knowing that it was losing custody of documents centrally
relevant to those stayed claims. See Hodge v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir. 2004)
(noting that spoliation of evidence permits a court to draw an adverse inference against a party who
“knew the evidence was relevant to some issue at trial and this his willful conduct resulted in its loss
or destruction”).

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        Wexford cannot claim that the 24 sets of records that Dr. Herrington reviewed were

insufficient or unreliable, because Dr. Fowlkes, Wexford’s correctional healthcare expert responding

to Dr. Herrington, admitted that the 24 cases both he and Dr. Herrington reviewed “was an

adequate sampling.” Ex. 33 at 214. Dr. Fowlkes further admitted to employing the same

methodology as Dr. Herrington to analyze the cases and reach an opinion about whether or not they

reflected a pattern or practice on the part of Wexford. Ex. 33 at 185-86. The two men differed only

in their conclusion: Dr. Fowlkes opined that these 24 cases did not reflect any pattern or practice on

the part of Wexford, while Dr. Herrington opined that these 24 cases, in conjunction with the

wealth of other evidence he reviewed, reflecting a pattern or practice of delaying emergency care,

maintaining woefully inadequate documentation, and generally putting patients’ lives at risk. Compare

Ex. 48 at 18, 23-27, with Ex. 52 at 49. These dueling conclusions require a jury—not a district court

at summary judgment—to resolve. Ruark, 2014 WL 351640, at *6.

        Wexford next argues that the 19 cases Dr. Herrington identified are distinguishable from Ms.

Neal’s case. In support of its argument, Wexford identified virtually every factual difference between

Ms. Neal’s case and nearly every one of the cases identified by Dr. Herrington. Def. Br. at 23-26. As

Plaintiff has addressed above, these differences are insufficient as a legal matter to entitle Wexford

to summary judgment. Because a reasonable jury could conclude that these 19 cases, especially when

considered in conjunction with the wealth of other evidence adduced by Plaintiff, reflect a practice

by Wexford to delay and deny necessary ER trips, summary judgment must be denied regardless of

the inevitable minor factual differences that arise.

        As to its challenge to the admissibility of Dr. Herrington’s opinions about these 19 cases,

Wexford offers absolutely no explanation as to why the purported factual differences render

unreliable Dr. Herrington’s opinions about those cases, the substantial lapses of care identified

within them, and the pattern by Wexford that Dr. Herrington concludes they reflect. That is because


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there is no such basis. Almost all of the 19 cases contain the critical similarity to Ms. Neal’s: they

involve cases in which Wexford’s doctors and nurses delayed far too long in sending a patient from

the infirmary to the ER; and of those, 8 of them specifically involve the failure to send out patients

experiencing symptoms of obvious, and serious, neurological conditions. See supra § I.D.2. At best,

the factual differences that Wexford identifies are matters for cross examination. They certainly do

not undermine the reliability of Dr. Herrington’s opinions, particularly given Dr. Herrington’s

thorough discussion of each case, and Wexford does not meaningfully contend otherwise.

Wexford’s own expert employed the same methodology, albeit reaching a different conclusion than

Dr. Herrington, as is routine in federal litigation. The doctors’ methodology has been recognized as

reliable by district courts throughout the country in policy and practice cases like this one. See, e.g.,

Awalt, 74 F. Supp. 3d at 926-27 (discussing expert physician’s review of several medical records and

identification of numerous instances of substandard care, and relying on the opinions in part to deny

summary judgment); Hunter v. Cty. of Sacramento, 652 F.3d 1225, 1234-35 (9th Cir. 2011); cf. Bresler,

855 F.3d at 195 (questions regarding the factual underpinnings of the expert’s opinion affect the

weight and credibility of the opinions, not their admissibility). Dr. Herrington’s analysis of the 19

cases involving substantial lapses in care, and the conclusion that he reaches regarding Wexford’s

patterns and practices as a result, are reliable and therefore admissible.

        Wexford lastly disputes Dr. Herrington’s opinion regarding Wexford’s policy of requiring

prior approval for an ER referral. Def. Br. at 26. In his report, Dr. Herrington notes that multiple

Wexford employees testified that “they understood [Wexford’s] policy to require them to get

approval before sending patients out to 911.” Ex. 48 at 25. Wexford argues that this statement is not

supported by the record, and that there is also evidence that supports Wexford’s contrary contention

that no such policy existed. Again, Wexford is just wrong that Dr. Herrington’s statement lacks

support in the factual record. See supra § I.B; see, e.g., Ex. 23 at 133 (Wexford nurse admitting that


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“when there’s a need to send someone outside” she “would have to have the approval of either a

doctor or a physician’s assistant”).21 Wexford’s argument is a perfect example of the factual disputes

that are clearly present in this case, and that reveal why this summary judgment motion should have

never been brought.

        Ultimately, Wexford has offered no plausible argument for why its claims about the weight

of the evidentiary record would render Dr. Herrington’s entire report unreliable and inadmissible.

To the contrary, this Court has repeatedly held that an argument that an expert like Dr. Herrington

should have reviewed different record evidence, or granted greater importance, is a matter for cross-

examination and not exclusion. See, e.g., Burns, 123 F. App’x at 549; Vertellus Holdings LLC, 2021 WL

38853597, at *10; Glass, 38 F. Supp. 3d at 716; see also Fed. R. Evid. 702, advisory committee’s note

to 2000 amendment (“When facts are in dispute, experts sometimes reach different conclusions

based on competing versions of the facts,” and district courts should not “exclude an expert’s

testimony on the ground that the court believes one version of the facts and not the other.”). The

Court should reject Wexford’s request to exclude Dr. Herrington because he did not center disputed

evidence that supported Wexford’s version of the facts.22


        21
           Wexford claims that these statements from its staff and administrators should be
interpreted merely as claims that physician notification was required, not authorization. Def. Br. at 26.
Of course, this is simply a request that this Court take an inference in Wexford’s favor that is not
permissible at summary judgment. And, in any event, it is not supported by the record. Former
defendant McNulty was asked, “Were registered nurses working at the BCDC allowed to send a
patient to the hospital without any approval?” Her answer was, “No, we were not allowed to send
inmates out on our own.” Ex. 23 at 131-33; id. at 226; see also Ex. 21 at 72-73 (“Q So was the
expectation that they were to contact the doctor for approval? A That is true. Q Okay. And was it
typically the case that nurses would get a doctor’s approval before they sent somebody outside? A
Yes. Generally.”).
        22
           In another “appendix,” Wexford contends that Dr. Herrington misrepresented the record
when he stated that there was “evidence that the trainings Wexford committed to doing in response
to those deaths, CQIs, and CAPs never happened, as testimony from several Wexford witnesses
suggests they did not receive such trainings.” Ex. 48 at 23; Dkt. 537-5 at 1-2. Although some of the
pincites that appear directly after the cited sentence do appear to be incorrect (referring instead to
Wexford’s ER referral authorization policy), Dr. Herrington’s statement finds ample support in the

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                                           CONCLUSION

        For all of the reasons above, Wexford’s motion for summary judgment should be denied.

                                                RESPECTFULLY SUBMITTED,


                                                /s/ Anand Swaminathan
                                                Attorneys for Plaintiff


                                                /s/ Sarah Grady
                                                Attorneys for Plaintiff


                                                /s/ Rachel Brady
                                                Attorneys for Plaintiff



                                                Arthur Loevy
                                                Michael Kanovitz
                                                Anand Swaminathan
                                                Steven Art
                                                Sarah Grady
                                                Rachel Brady
                                                LOEVY & LOEVY
                                                311 North Aberdeen St.
                                                Chicago, IL 60607
                                                (312) 243-5900


                                                Masai D. McDougall
                                                Fareed Nassor Hayat
                                                Norrinda Hayat
                                                THE PEOPLE’S LAW FIRM
                                                14908 Notley Avenue
                                                Silver Spring, MD 20905




materials he reviewed. Ex. 22 at 43:5-16; Ex. 18 at 8-11; Ex. 19 at 34; Ex. 23 at 456:11-14; see also Ex.
21 at 194:15-195:16 (testimony from Donna James that her ability to identifying needed training
diminished as Wexford prioritized UM over quality metrics). Although the typographical mistake is
regrettable—perhaps Dr. Herrington should have instead provided no citations to any record
evidence to support his opinions, like Wexford’s experts did—it is no basis to exclude Dr.
Herrington’s opinions.

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                                 CERTIFICATE OF SERVICE

       Rachel Brady, Sarah Grady, and Anand Swaminathan, attorneys, certify that on October 27,

2021, I caused the foregoing Response to Defendant’s Motion for Summary Judgment to be filed via

the Court’s CM/ECF electronic filing system, which effected service on all counsel of record.



                                              /s/ Anand Swaminathan
                                              Attorneys for Plaintiff


                                              /s/ Sarah Grady
                                              Attorneys for Plaintiff


                                              /s/ Rachel Brady
                                              Attorneys for Plaintiff




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